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        Exhibit 2
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                           DOES “COULD” LEAD TO GOOD? ON THE ROAD TO
                                         MORAL INSIGHT
                                                                          TING ZHANG
                                                                        FRANCESCA GINO
                                                                      JOSHUA D. MARGOLIS
                                                                      Harvard Business School

                          Dilemmas featuring competing moral imperatives are prevalent in organizations and
                          are difficult to resolve. Whereas prior research has focused on how individuals adju-
                          dicate among these moral imperatives, we study the factors that influence when in-
                          dividuals find solutions that fall outside of the salient options presented. In particular,
                          we study moral insight, or the discovery of solutions, other than selecting one of the
                          competing moral imperatives over another, that honor both competing imperatives or
                          resolve the tension among them. Although individuals intuitively consider the question
                          “What should I do?” when contemplating moral dilemmas, we find that prompting
                          people to consider “What could I do?” helps them generate moral insight. Together,
                          these studies point toward the conditions that enable moral insight and important
                          practical implications.


   Imagine that you learned some confidential in-                                                    Among the myriad ethical challenges that em-
formation from a friend about an impending event                                                  ployees face, a survey of 162 corporate executives
that would put your own company and one of your                                                   (Mtenure at firm 5 8.85 years, SDtenure at firm 5 5.73; 28%
clients at great risk of considerable loss (Badaracco &                                           female) revealed that these types of situations—
Useem, 1993). This situation—based on the actual                                                  moral dilemmas involving tradeoffs between
experience of a financial services employee—presents                                              competing values or principles (Badaracco &
two possible courses of action: (1) disclose the infor-                                           Useem, 1993; Hogan & Paine, 1997; Palmer, 2012;
mation to your boss, who can take action to prevent the                                           Toffler, 1986)—are the most difficult and among
loss, but, in so doing, breach confidentiality and loy-                                           the most prevalent type of ethical challenge at
alty to your friend; or (2) uphold your commitment                                                work (see Appendix A for more details).1 Forty-five
to confidentiality and friendship by remaining silent,                                            percent of executives ranked dilemmas that in-
thereby risking tremendous damage to your employer                                                volve tradeoffs between two moral principles
and one of its clients. In this moral dilemma, the com-                                           (“right vs. right” dilemmas) as the most difficult type
peting principles of confidentiality to your friend and                                           of ethical challenge they had experienced. Addition-
duty to your firm and client are both highly valued,                                              ally, the majority of situations (70%) raised by exec-
and choosing one value seems to necessitate forgoing                                              utives involved moral tradeoffs (i.e., vying principles
the other, making the problem difficult to solve with no                                          that compel an individual to act, such as honesty vs.
obvious “right” answer.                                                                           duty to the organization or fairness vs. loyalty to a co-
                                                                                                  worker). In contrast, only 30% of recalled ethical
                                                                                                  challenges featured “right-versus-wrong” situations
                                                                                                  that involved temptations to violate moral principles in
   The authors are grateful to Max Bazerman, Adam                                                 order to benefit oneself.
Galinsky, Michael Slepian, and Eric Anicich for their in-                                            Despite both the reported difficulty and prevalence
sightful feedback and comments on earlier drafts of this                                          of right-versus-right moral dilemmas, a small propor-
paper. The authors also thank associate editor Dave Mayer                                         tion of the papers (18%) published in management and
and three reviewers for substantive comments that signif-
                                                                                                  psychology journals from 2000 to 2015 has studied
icantly shaped this manuscript. We are grateful to mem-
bers of SINGO Lab at Columbia University and NERD Lab
                                                                                                     1
and Non-Lab at Harvard University for their valuable                                                   Executives considered the ethical issues that they—
suggestions and to Nicole Ludmir, Judith Ezike, Katherine                                         and the employees they manage—have faced, and then
Mentzinger, Elena Helgiu, Arleen Chien, Grace Goodby,                                             rated different types of ethical dilemmas based on preva-
and Nikolos Gurney for their research assistance.                                                 lence and difficulty.

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                                                          TABLE 1
                      Research on Ethics Published between 2000 and 2015, Categorized by Dilemma Type
Type of dilemma                                         Publications                                        Total papers        Percent of papers

Right vs. wrong         Aquino, Freeman, Reed, Lim, & Felps, 2009; Barnes, Schaubroek, Huth, &                   74                    82%
                         Ghumman, 2011; Boles, Croson, & Murnighan, 2000; Cohen, Panter,
                         Turan, Morse, & Kim, 2014; Cohen & Rozin, 2001; Cullen, Parboteeah, &
                         Hoegl, 2004; Detert, Treviño, & Schweitzer, 2008; Ding, Wellman, Wang,
                         Fu, & Lee, 2015; Effron, Lucas, & O’Connor, 2015; Effron, Miller, &
                         Monin, 2012; Exline, Baumeister, Zell, Kraft, & Witvliet, 2008; Frimer,
                         Schaefer, & Oakes, 2014; Gillath, Sesko, Shaver, & Chun, 2010; Gino &
                         Ariely, 2012; Gino, Ayal, & Ariely, 2009; Gino & Desai, 2012; Gino &
                         Galinsky, 2012; Gino & Margolis, 2011; Gino & Mogilner, 2013; Gino &
                         Pierce, 2009a; Gino & Pierce, 2009b; Gino, Schweitzer, Mead, & Ariely,
                         2011; Gino, Shu, & Bazerman, 2010; Gino & Wiltermuth, 2014; Gunia,
                         Wang, Huang, Wang, & Murnighan, 2012; Hershfield et al., 2012; Keck,
                         2014; Koning, Steinel, van Beest, & van Dijk, 2011; Kouchaki, 2011;
                         Kouchaki & Desai, 2015; Kouchaki & Smith, 2013; Kouchaki, Smith-
                         Crowe, Brief, & Sousa, 2013; Kouchaki & Wareham, 2015; Lee, Talwar,
                         McCarthy, Ross, Evans, & Arruda, 2014; Miller, Visser, & Staub, 2005;
                         Monin & Miller, 2001; Moore & Tenbrunsel, 2014; Mulder & Aquino,
                         2013; Mulder, Jordan, & Rink, 2015; Neville, 2012; Pearsall & Ellis, 2011;
                         Peer, Acquisti, & Shalvi, 2014; Pierce, Kilduff, Galinsky, & Sivanathan,
                         2013; Pitesa & Thau, 2013b; Pittarello, Leib, Gordon-Hecker, & Shalvi,
                         2015; Reynolds & Ceranic, 2007; Reynolds, Dang, Yam, & Leavitt, 2014;
                         Rixom & Mishra, 2014; Roccas, Klar, & Liviatan, 2006; Ruedy, Moore,
                         Gino, & Schweitzer, 2013; Schweitzer, Ordóñez, & Douma, 2004; Shalvi,
                         Dana, Handgraaf, & De Dreu, 2011; Shalvi, Eldar, & Bereby-Meyer, 2012;
                         Sharma, Mazar, Alter, & Ariely, 2014; Shu & Gino, 2012; Song Hing,
                         Bobocel, Zanna, & McBride, 2007; Spicer & Bailey, 2007; Spicer, Dunfee,
                         & Bailey, 2004; Teper, Inzlicht, & Page-Gould, 2011; Umphress,
                         Bingham, & Mitchell, 2010; Vincent, Emich, & Goncalo, 2013; Wang,
                         Zhong, & Murnighan, 2014; Welsh, Ellis, Christian, & Mai, 2014; Welsh &
                         Ordóñez, 2014a; Welsh & Ordóñez, 2014b; Welsh, Ordóñez, Snyder, &
                         Christian, 2015; Wiltermuth, Bennett, & Pierce, 2013; Winterich, Mittal,
                         & Morales, 2014; Yam, Chen, & Reynolds, 2014; Yam, Reynolds, & Hirsh,
                         2014; Yap, Wazlawek, Lucas, Cuddy, & Carney, 2013; Zhang, Cornwell,
                         & Higgins, 2013; Zhong, 2011; Zhong, Bohns, & Gino, 2010
Right vs. right         Amit & Greene, 2012; Anteby, 2010; Conway & Gawronksi, 2013; Côté, Piff,               16                    18%
                         & Willer, 2013; de Hooge, Nelissen, Breugelmans, & Zeelenberg, 2011;
                         Feinberg, Willer, Antonenko, & John, 2012; Lammers & Stapel, 2009; Lee
                         & Gino, 2015; Levine & Schweitzer, 2015; Moore, Clark, & Kane, 2008;
                         Reynolds, 2006; Smith, Aquino, Koleva, & Graham, 2014; Swann, W. B.,
                         Buhrmester, M. D., Gómez, A., Jetten, J., Bastian, B., et al. 2014; Thau,
                         Derfler-Rozin, Pitessa, Mitchell, & Pillutla, 2015; Pitesa & Thau, 2013a;
                         Waldmann & Dieterich, 2007

   Notes: We searched for empirical articles published in Academy of Management Journal, Administrative Science Quarterly, Journal of
Personality and Social Psychology, Psychological Science, Organizational Behavior and Human Decision Processes, Personnel Psychology,
and Journal of Applied Psychology that contained one or more of the following terms: ethics, ethic, ethical, unethical, ethically, moral, morality,
morals, immoral, amoral, dishonest, honest, deception, dishonesty, honesty, dishonestly, honestly, misconduct, wrongdoing. Papers were
included if the primary decisions or behaviors that were studied involved ethics and were categorized based on whether the majority of studies
in the paper featured right-versus-right or right-versus-wrong situations.

these types of ethical challenges (see Table 1 for details                    well as the myriad organizational sources of mis-
about the literature review we conducted to identify                          conduct (Brief, Buttram, & Dukerich, 2001; Darley,
this estimate). The majority of papers on ethics (82%)                        1996; Palmer, 2012; Vaughan, 1999).
has focused on right-versus-wrong situations, illumi-                            Existing research on right-versus-right dilemmas
nating how and why people are tempted to cheat and                            has largely investigated how we, as individuals, make
lie (Chugh & Bazerman, 2007; Moore, Detert, Treviño,                          tradeoffs across moral imperatives once we recognize
Baker, & Mayer, 2012; Shu, Gino, & Bazerman, 2011) as                         the principles in conflict (Gilligan, 1982; Greene,
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Morelli, Lowenberg, Nystrom, & Cohen, 2008; Greene,                important or when competing moral imperatives are
Sommerville, Nystrom, Darley, & Cohen, 2001; Kohlberg,             difficult to rank in terms of their relative priority.
1971; Levine & Schweitzer, 2014). In these dilemmas,                  Because of the unique challenges in resolving
individuals are often caught in a conflict that entails            moral dilemmas, we classify moral insight as a dis-
sacrificing a moral principle (e.g., acting ethically and          tinct type of integrative problem-solving within the
fairly, being loyal, and avoiding harm) in order to pro-           moral domain. For example, in the dilemma posed at
tect or uphold duty to another individual (e.g., a co-             the beginning of this paper, a moral insight solution
worker, supervisee, manager) or entity (e.g., team or              that seeks to honor both values might be to raise
organization). To resolve these dilemmas, individuals              a question to one’s boss that would lead her to in-
may prioritize one imperative over another, resulting              vestigate the possibility of this impending event
in deontological or utilitarian choices (Greene et al.,            without breaking confidentiality to the friend. In the
2008), prosocial lies (Levine & Schweitzer, 2014, 2015;            famous Heinz dilemma (Kohlberg, 1971), for exam-
Lupoli, Jampol, & Oveis, 2017), pro-organizational                 ple, rather than choose between stealing a drug your
unethical behaviors (Umphress et al., 2010), taboo                 spouse needs for survival and obeying laws that
tradeoffs (Fiske & Tetlock, 1997), and necessary evils             protect property, some people suggest that Heinz
(Margolis & Molinsky, 2008; Molinsky & Margolis,                   might speak to the druggist who owns the medicine
2005).                                                             (Gilligan, 1982)—a solution that seeks to resolve the
   Whereas prior research on dilemmas has investi-                 tension between the competing moral principles
gated how individuals choose one moral imperative                  involved in the dilemma.
over another (Gilligan, 1982; Kohlberg, 1971), our                    Thus, moral insight involves a form of creative
research focuses on when individuals realize they                  thinking applied to ethical challenges, yet, to date,
need not make these tradeoffs.2 We examine instances               research has found an inverse relationship between
of “moral insight,” defined as the discovery of solu-              creativity and ethicality (Gino & Ariely, 2012; Gino &
tions, other than selecting one of the competing moral             Wiltermuth, 2014). Research in the domain of self-
imperatives over another, that honor both competing                dealing—in which ethical principles are pitted
imperatives or resolve the tension among them.                     against the wrong of self-dealing—has revealed that
   To study moral insight, we integrate research on                creativity sparks greater mental flexibility in justi-
insight and creativity (Csikszentmihalyi & Sawyer,                 fying unethical behavior (Gino & Ariely, 2012; Wang,
1995; Miron-Spektor, Gino, & Argote, 2011; Schilling,              2011). Our research explores the possibility that
2005; Smith, 1995), conflict resolution (Bazerman,                 creative cognition operates differently in the domain
Curhan, Moore, & Valley, 2000; Harinck & De Dreu,                  of dilemmas, where individuals face competing
2008; Malhotra & Bazerman, 2007), and ethics                       moral imperatives rather than an opportunity to gain
(Gilligan, 1982; Greene et al., 2001; Kohlberg, 1971;              personally at the expense of ethics. We study how
Rest, Bebeau, Narvez, & Thoma, 1999). In the domain                encouraging creative thought in the context of moral
of interpersonal conflict, research has shown that                 dilemmas—by challenging individuals’ default ap-
creative thinking (Kurtzberg, 1998) and implicit ne-               proach toward them—helps individuals find solu-
gotiation beliefs (Kray & Haselhuhn, 2007) enable                  tions that do not compromise ethics.
individuals to leverage different prioritization of                   To investigate how individuals might reach moral
values between two negotiators in order to trade value             insight, we turn to their default approach when
on those issues and find integrative value (i.e., expand           contemplating moral dilemmas. When encountering
the pie). However, in intrapersonal moral conflicts,               difficult ethical challenges, people generally ask
leveraging differences in priorities between individ-              themselves the Socratic question “What should I
uals, by definition, is longer a viable option. Finding            do?” (Victor & Cullen, 1988). In a pilot study, we
integrative value is also particularly difficult when              randomly presented individuals with either moral or
two competing imperatives are often seen as equally                amoral dilemmas and found that most people
                                                                   thought about what they “should” do for moral sit-
                                                                   uations (61%), whereas a smaller proportion of
  2
    Underlying the study of these ethical dilemmas is
                                                                   individuals (36%) considered “should” when con-
a long philosophical debate on whether dilemmas actually           fronting an amoral dilemma (see Appendix B for
exist (Conee, 1982; Marcus, 1980). Whether or not people           more details about this study). And guidance is typ-
are facing actual dilemmas, we are primarily interested in         ically cast in terms of “should.” For example, we
situations in which individuals perceive the existence of          created a data set with the ethics codes of Fortune 50
competing moral imperatives.                                       companies sampled in 2013 and counted the number
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of times the word “should” appeared in each ethics                  Second, we integrate research from ethics, negotia-
code. We found that “should” appeared approxi-                   tion, and creativity to study moral insight, or uncon-
mately 30 times on average. Organizations, it seems,             ventional solutions that honor or resolve competing
also frame the principles to guide managerial con-               moral imperatives. Thus far, research linking creativity
duct in terms of “should.”                                       and ethics has focused on the domain of self-dealing,
   Taken together, these findings demonstrate that               showing that creativity increases the likelihood that
should mindsets appear to be the unique default and              individuals will engage in unethical behavior (Gino &
recommended approach to contemplating moral di-                  Ariely, 2012; Wang, 2011). When individuals are
lemmas. A “mindset” is commonly defined as cogni-                tempted to cheat for personal gain, creativity generates
tions that, once activated, persist over various contexts        greater mental flexibility in service of justifying un-
(Luchins, 1942; Luchins & Luchins, 1959) and have                ethical actions. But, creativity may operate differently
the potential to influence later choices on a variety of         in the domain of dilemmas, where individuals face
tasks (see, e.g., Galinsky, Gruenfeld, & Magee, 2003, for        competing moral imperatives rather than an opportu-
a discussion of a power mindset). Despite the perva-             nity to gain personally at the expense of ethics. We
siveness of having a should mindset when confronting             suggest that, for moral dilemmas, creative thinking—
moral dilemmas, we challenge this default approach               prompted through having a could mindset—helps in-
and suggest that it curbs the generation of moral in-            dividuals engage in divergent thinking, which may
sight. Whereas a should mindset may encourage in-                ultimately help them resolve the collision of ethical
dividuals to think analytically in weighing the vying            imperatives.
moral claims of the most apparent courses of action,                Third, we offer a simple-to-implement psychological
people may often benefit from a could mindset that               intervention that helps individuals address moral di-
involves a more expansive exploration of possible                lemmas more constructively. Among the array of pos-
solutions before making a final decision. We propose             sible interventions, ranging from psychological changes
that considering what one could do shifts people from            to redesigning organizations (Zhang, Gino, & Bazerman,
analyzing and weighing what they assume to be fixed              2014), our proposed intervention is based on a subtle
and mutually exclusive alternatives to generating                psychological shift in an individual’s mindset that
options that might reconcile underlying imperatives.             reframes how they can resolve ethical dilemmas. Based
When facing ethical dilemmas, shifting individuals               on research in negotiations showing that an in-
from a more conventional should mindset to a less                dividual’s mindset with respect to interpersonal con-
conventional could mindset encourages greater ex-                flict is malleable and impacts their ability to reach
ploration of possibilities, increasing individuals’              integrative solutions (e.g., Kray & Haselhuhn, 2007), we
ability to discover practical solutions to moral di-             seek to understand how shifting individuals’ mindsets
lemmas that move beyond conceding one or more                    in intrapersonal moral conflicts impacts their approach
moral principles to meet another.                                to these dilemmas—from a contest between two alter-
   The present research makes three main contribu-               natives to an open-ended quest for possibilities. In
tions to the literature. First, it extends how ethical di-       particular, we study how reframing an individual’s
lemmas have traditionally been studied. Prior research           approach to competing moral imperatives—from ask-
on dilemmas has presented individuals with a choice              ing “What should I do?” to “What could I do?”—
between two possible decisions, showcasing the ten-              prompts a shift from choosing between these competing
sion between imperatives—at least one of which is                imperatives to generating insight that honors both im-
moral—and revealing the factors that lead individuals            peratives or resolves tension between them.
to choose one value or principle over the other (Jones,
1991; Kohlberg, 1971). Rather than investigate which
                                                                               THEORY AND HYPOTHESES
of two predetermined options is chosen and why, we
examine how novel options that satisfy both impera-                 To study how individuals face these dilemmas,
tives might be generated. Additionally, we not only              organizational and psychological research has inves-
investigate individuals’ preferences of what they                tigated the factors that influence how individuals (a)
would do in hypothetical dilemmas—as studies on                  recognize the moral issues at stake (i.e., reach moral
right-versus-right dilemmas have often done—but also             awareness; Jennings, Mitchell, & Hannah, 2015;
push the study of moral dilemmas to examine behav-               Reynolds, 2008; Sparks & Hunt, 1998; Tenbrunsel &
iors, investigating which actions, out of the multiple           Smith-Crowe, 2008), and (b) choose among the com-
possibilities available, individuals generate to resolve         peting moral imperatives in conflict. In particular,
the moral dilemmas presented.                                    research from psychology on moral decision-making
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has shown that there are five primary dimensions on                     In addition to investigating individuals’ moral in-
which individuals recognize that their behaviors have                tuitions and reasoning when facing tradeoffs in di-
moral implications: harm, fairness, loyalty, authority,              lemmas, researchers have investigated how individuals
and purity (Graham, Nosek, Haidt, Iyer, Koleva, &                    form moral judgments of others facing these decisions.
Ditto, 2011). While individuals vary on the extent to                In general, individuals perceive choices driven by em-
which they are morally attentive (i.e., chronically                  pathic concern as more valued (Conway & Gawronski,
perceptive of the moral aspects of situations;                       2013; Everett, Pizarro, & Crockett, 2016; Levine &
Reynolds, 2008), environmental factors also affect                   Schweitzer, 2015). Levine and Schweitzer (2015) found
moral awareness. For instance, approaching a situa-                  cases in which sacrificing certain moral principles
tion with a legal or economic lens mitigates the extent              (e.g., being honest) is desirable: when individuals tell
to which individuals recognize that their behaviors                  prosocial lies out of empathic concern to protect others
have ethical implications (Messick, 1999; Tenbrunsel                 from unnecessary harm. Additionally, individuals are
& Smith-Crowe, 2008).                                                more valued as social partners and perceived as more
   In addition to studying individuals’ awareness and                trustworthy when they make deontological choices—
judgments of the moral implications in moral dilemmas                related to empathic concern (Conway & Gawronski,
(Haidt, 2001; Monin, Pizarro, & Beer, 2007; Uhlmann,                 2013)—over utilitarian options (Everett et al., 2016).
Pizarro, Tannenbaum, & Ditto, 2009), research from                      Whereas empirical studies on dilemmas to date
psychology on moral decision-making has examined                     typically involve forced tradeoffs between moral
how individuals adjudicate among competing imper-                    imperatives, our research complements these ap-
atives (Greene et al., 2004; Kohlberg, 1971). Individuals            proaches by focusing on the courses of action in-
broadly approach dilemmas with either a utilitarian                  dividuals develop when they are not forced to decide
(based on consequences of actions) or deontological                  between imperatives, but, rather, when they might
approach (based on adherence to rules, principles, and               formulate solutions. By relaxing constraints on
duty) (Conway & Gawronski, 2013; Greene et al., 2001;                which courses of action individuals can choose, we
Reynolds, 2006). For example, in one commonly used                   provide individuals with the opportunity to reach
dilemma, referred to as “the trolley problem,” in-                   moral insight, moving beyond the two most apparent
dividuals are asked whether they should actively divert              courses of action colliding in a dilemma to honor
a runaway trolley onto a path that would kill one person             both competing imperatives or resolve the tension
in order to save five lives (the utilitarian choice), or             among them. To reach moral insight, moral aware-
whether they should choose inaction, spare one life,                 ness (Reynolds, 2006, 2008) is a necessary, but in-
and leave the train on course to kill five people (the               sufficient, condition: individuals must be aware of
deontological choice) (Foot, 1967; Thomson, 1986).                   the ethical considerations in these dilemmas, but
   Examining which options individuals select has pro-               then they must go on to find creative solutions that
vided insight into moral cognition and the conditions                honor those ethical considerations.
under which deliberation or intuition are respectively
more likely to guide moral decisions. For example, re-
                                                                     Developing Moral Insight
searchers have learned that emotions and intuition often
influence ethical judgments and decisions (Ditto,                       We suggest that, when facing moral dilemmas,
Pizarro, & Tannenbaum, 2009; Greene, Nystrom,                        people generate moral insight in the same way they
Engell, Darley, & Cohen, 2004; Haidt, 2001; Lee &                    generate insight when facing creativity problems
Gino, 2015; Monin et al., 2007; Uhlmann et al., 2009),               (Isen, Daubman, & Nowicki, 1987). Moral insight is
which had long been assumed in psychology to be                      enacted through the generation of novel and practi-
a product of logical and deliberative reasoning. Moral               cal solutions that move beyond conventional re-
intuition (or “gut reactions” to moral dilemmas) typi-               sponses requiring the sacrifice of one or more moral
cally leads to deontological decisions (i.e., “killing is            principles to meet another. Research on insight
wrong, regardless of the consequences”), whereas de-                 problems has indicated that the cognitive processes
liberation may lead individuals to override these in-                that lead to solutions neither occur to people im-
tuitive responses to make utilitarian decisions (i.e.,               mediately on presentation of the problem, nor
killing one life is permissible in order to save the lives of        emerge from analysis and deliberation. Rather, the
many; Greene et al., 2008). Which form of cognition is               insight strikes like a bolt—the proverbial “Eureka!”
best suited to a particular ethical challenge has also been          moment—changing the solver’s mental representa-
subject to debate in the literature (Greene, 2013; Haidt,            tion of the problem (Schilling, 2005; Seifert, Meyer,
2001; Monin et al., 2007; Zhong, 2011).                              Davidson, Patalano, & Yaniv, 1994; Sternberg, 1988).
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   In the context of moral dilemmas, we argue that              their “ought” selves, representing a mental model of
generating moral insight involves shifting individuals’         their duties, obligations, and responsibilities (Higgins,
mental representation of dilemmas away from making              1987; Rogers, 1961). In the context of moral dilemmas,
a choice between forced tradeoffs. Research on insight          individuals adopting a should mindset may focus on
has focused on solutions that require individuals to            the relative importance of different injunctive norms
relax the assumptions of a given problem. For example,          (i.e., based on what individuals believe others find
in the classic Duncker’s (1945) “candle problem,” in-           permissible [Cialdini, Kallgren, & Reno, 1991; Elqayam,
dividuals are asked to fix a lit candle to a wall using         Thompson, Wilkinson, Evans, & Over, 2015]), under-
a box of matches and a box of thumbtacks. The solution          lying the tension in these moral dilemmas.
is not to tack a lit candle to the wall directly, as most          Consequently, adopting a should mindset implies
individuals initially attempt, but to tack an emptied           forcing individuals to narrowly focus on weighing
thumbtack box to the wall instead, allowing the box to          and choosing among two possible courses of action
serve as a stand for the lit candle. Just as insight in         (De Dreu, Giacomantonio, Shalvi, & Sligte, 2009;
problems like Duncker’s (1945) candle entails relaxing          Kurtzberg, 2009; Trope & Liberman, 2010). For ex-
the assumption that the functions of objects are fixed,         ample, when contemplating the Heinz dilemma with
moral insight entails relaxing assumptions that there           a should mindset, individuals may immediately start
are fixed options from which to choose. In contrast to          weighing the moral costs of stealing against the moral
research on non-moral insight (Duncker, 1945) and               costs of letting a loved one die. Furthermore, Higgins
creativity (Mednick, 1962; Rowe, Hirsh, & Anderson,             and colleagues have found that, when individuals
2007), which typically examines convergence around              think about “should” and “oughts,” they typically
a single but non-obvious relationship between objects           adopt more of a prevention-oriented mindset, lead-
and concepts, central to our definition of moral insight        ing them to consider the avoidance of negative out-
is the possibility that multiple solutions exist beyond         comes (Higgins, 1997; Higgins, Roney, Crowe, &
selecting one side of the dilemma or the other. These           Hymes, 1994). Taken together, adopting a should
solutions can vary both in their feasibility and how            mindset to resolve dilemmas may lead individuals to
they meet those multiple competing imperatives.                 satisfice in settling for the least undesirable solution
However, development of one or more of the solutions            that meets one ethical priority while providing jus-
reflects the individual’s moral insight to move beyond          tifications for failing to honor the other value.
simply determining which imperative to prioritize at               In contrast, shifting individuals’ contemplation to-
the expense of another.                                         ward what they could do—a mindset that recognizes
                                                                other possibilities might exist—may enable in-
                                                                dividuals to gain psychological distance from the focal
Shifting to a Could Mindset
                                                                tension. By seeing the problem from a more distant
   Existing research has shown the importance of                perspective, individuals with a could mindset may
matching cognitive processes to the nature of the               realize that the tradeoff between saving a life and not
ethical challenge faced. For example, extended                  stealing is not necessarily irreconcilable, increasing
contemplation has been shown to increase the like-              the likelihood that individuals might arrive at insight
lihood that individuals will make ethical decisions             solutions (e.g., solicit donations through social media).
in both individual and group contexts, particularly             Langer and Piper (1987) found that considering what
when individuals lack justifications for their un-              objects could be, as opposed to what objects were,
ethical behaviors (Caruso & Gino, 2010; Gunia et al.,           helped individuals transcend the problem of “func-
2012; Shalvi et al., 2012). However, in other condi-            tional fixedness,” or the inability to use objects beyond
tions, most notably when another’s welfare is pitted            the purposes for which they were originally designed
against an actor’s own interests, quick intuitive re-           (Isen et al., 1987; Luchins, 1942). When confronted
sponses increase the likelihood of an ethical choice            with the need to erase a pencil mark without using an
(Rand, Greene, & Nowak, 2012; Zhong, 2011). In                  eraser, individuals who merely considered what ob-
sum, interventions that tailor cognition to the nature          jects could be were more likely to recognize that
of the ethical challenge are essential (Bennis, Medin,          a rubber band could be used in lieu of an eraser,
& Bartels, 2010; Moore & Tenbrunsel, 2014).                     compared to those who considered what these objects
   In the context of moral dilemmas, individuals                were. Just as thinking about what objects could be
generally approach these problems by contemplat-                influenced individuals to perceive the problem from
ing what they should do (see Appendix B). By in-                a distance and overcome the rigidity of considering
voking a should mindset, individuals may conjure                only conventional uses of objects, we propose that
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contemplating what one could do in moral dilemmas                  realize the potential to reconcile competing sides are
helps individuals think beyond the rigidity of making              more likely to discover integrative solutions that ex-
forced tradeoffs between moral principles and reach                pand the size of the overall pie and often maximize
solutions that honor both imperatives featured (see                outcomes for both negotiating parties (Brandenburger
Figure 1 for conceptual model).                                    & Nalebuff, 1996; De Dreu, 2003; Harinck & De Dreu,
                                                                   2008). Taken together, we propose that applying
  Hypothesis 1. A could mindset relative to a should
                                                                   a could mindset toward ethical dilemmas prompts
  mindset increases the propensity to reach moral
  insight.
                                                                   people to develop a wider set of possible options,
                                                                   enhancing individuals’ ability to look beyond forced
   Research on decision-making has shown that, when                tradeoffs and ultimately helping them formulate
individuals shift from a narrow to a broad decision                moral insight solutions that uphold colliding moral
frame, they consider multiple objectives, alternatives,            imperatives. We thus hypothesize:
and outcomes (Larrick, 2009). By unlocking the recog-
                                                                     Hypothesis 2. A could mindset increases divergent
nition that multiple possibilities exist, developing
                                                                     thinking—or the formulation of multiple possibilities—
a could mindset may also unlock individuals’ ability to
                                                                     in moral dilemmas relative to a should mindset.
engage in “divergent thinking,” or the development of
multiple solutions that span boundaries (McCrae, 1987;               Hypothesis 3. The effect of a could mindset on the pro-
Runco, 1991; Silvia et al., 2008). In Langer and Piper’s             pensity to reach moral insight is mediated by the extent
(1987) study, those who considered what the objects                  to which individuals engage in divergent thinking.
could be were able to consider a greater variety of al-               While divergent thinking may often lead to moral in-
ternative uses for the focal object. Although interlinked,         sight, we note that divergent thinking and moral insight
there is a conceptual difference between having a could            are distinct constructs. Not all possibilities generated
mindset and divergent thinking: whereas a could mind-              from divergent thinking are necessarily moral insights.
set involves the awareness that multiple solutions might           For example, ideas generated from greater divergent
exist, divergent thinking is the ability of individuals            thinking might entail creative justifications for selecting
to consider multiple approaches to a problem.                      one moral imperative over another, selecting an un-
   Because divergent thinking involves thinking “with-             ethical course of action, or even abstaining from taking
out boundaries” or “outside the box” (Thompson, 2008:              action. More concretely, someone who engages in di-
226), it leads to the discovery of insightful solutions            vergent thinking in the Heinz dilemma could consider
(Baer, 1994). By considering multiple possibilities, di-           multiple different ways of stealing the drug (e.g., hiring
vergent thinking helps individuals make new connec-                someone to steal the drug, or going into the drugstore to
tions and associations (Guilford, 1968, 1982), reducing            buy a cheap drug and then swapping out the cheap one
individuals’ propensity to settle upon obvious answers             for the expensive drug). Among the many possible so-
and increasing their ability to reach innovative solu-             lutions, none of those possibilities would be considered
tions to problems (Williams, 2004; Woodman, Sawyer,                moral insight, which we define as solutions that (a) move
& Griffin, 1993).                                                  beyond the two salient options presented, and, critically,
   In research on interpersonal conflict, thinking cre-            (b) resolve or honor multiple competing imperatives.
atively beyond conventional options has been found
to generate integrative solutions (De Dreu et al., 2009;
                                                                   Overview of the Present Research
Kurtzberg, 1998), so we have adapted principles from
negotiation to study the intrapersonal conflict that                  We test our predictions regarding the impact of
individuals experience when confronted with ethical                a could mindset on generating moral insight across
dilemmas. When negotiators perceive their environ-                 four experiments. Despite the default approach of in-
ment as competitive, they often assume that goals                  dividuals to contemplate moral dilemmas with a
across negotiating parties are negatively related, im-             should mindset, we find, in two studies, that con-
plying that they must make distributive tradeoffs in               templating “What could I do?” leads individuals to
order to find solutions (Carnevale & Probst, 1998;                 engage in more divergent thinking as they explore
Tjosvold, 1998). This competitive mindset often leads              possible options, helping them to find more moral
individuals to reach purely distributive solutions that            insight solutions across both hypothetical contexts
assume the size of the economic pie as given (Baron,               (Study 1) and an incentive-compatible context (Study
Bazerman, & Shonk, 2006; Demoulin & Teixeira,                      2). We then explore the impact of a could mindset in
2010; Fisher, Ury, & Patton, 2011; Malhotra &                      two other settings of ethical challenges common for
Bazerman, 2007). In contrast, negotiators who                      managers. Study 3 shows that adopting a could
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                                                   FIGURE 1
                       Conceptual Process Model of the Factors that Generate Moral Insight


                                                       Divergent thinking
                                   H2                                                  H3
                                            +                                      +




                                                               +
                         Could vs. should                                              Moral insight
                             mindset                                                    solution
                                                              H1



mindset in interpersonal contexts increases collective             Mechanical Turk participated in an online study in
divergent thinking, helping individuals generate moral             exchange for $1.50.4 Five participants were not eli-
insight. Finally, Study 4 examines boundary condi-                 gible to complete the study because they incorrectly
tions based on the type of ethical dilemma featured,               answered the attention check,5 leaving 205 partici-
investigating how a could mindset fares when there                 pants included in the analysis.
exists a temptation to cheat for self-gain.
                                                                   Design and Procedure
           STUDY 1: CONTEMPLATING
                                                                      Participants were randomly assigned to adopt ei-
              MORAL DILEMMAS
                                                                   ther a could mindset or a should mindset while
   In Study 1, participants considered a series of di-             contemplating four ethical dilemmas (see Dilemmas
lemmas and indicated either what they “could” or                   1–4 in Appendix D). Those randomly assigned to
“should” do in response before finally reporting                   adopt a could mindset provided written responses to
what they “would” do. We hypothesized that, rela-                  the question “What could you do?” for each of the
tive to a should mindset, a could mindset would in-                four dilemmas, whereas those assigned to think in
fluence individuals to engage in divergent thinking                a should mindset provided written responses to the
(Hypothesis 2), better equipping individuals to gen-               question “What should you do?”
erate solutions that concede neither imperative em-                   All participants then answered the question
bedded in the dilemma (Hypotheses 1 and 3).3                       “What would you do?” as well as follow-up ques-
                                                                   tions about their responses to each dilemma. Two
                                                                   independent coders blind to the study’s hypotheses
Participants
                                                                   rated each of the participants’ written responses for
  Two hundred and ten individuals (Mage 5 35.02                    their divergent thinking and whether the proposed
years; 59.2% female) recruited through Amazon’s                    solutions were considered moral insights that satis-
                                                                   fied the competing values in each of the dilemmas.
  3
    In a pilot study (see Appendix C), we compared
adopting a could mindset against should and would                  Measures
mindsets. Individuals in a could mindset perceived moral             Manipulation check. As a manipulation check,
imperatives featured across ethical dilemmas as more               two independent coders blind to the hypotheses of
compatible relative to those in a should or a would mind-          the study recorded the number of instances in which
set. However, we did not observe differences between
                                                                   participants used the words “could” and “should” in
should and would mindsets, providing further evidence
that individuals approach moral dilemmas with a should
                                                                      4
mindset as their default. That is, differences between                  This amount was considered a standard market rate
adopting should and could mindsets were not due to                 at the time the study was conducted. Past research has
should mindsets reducing perceptions of moral impera-              shown that the Mechanical Turk service provides reliable
tives as compatible, but, rather, could mindsets increasing        data for research purposes (Buhrmester et al. 2011).
                                                                      5
perceptions of compatibility. Consequently, we did not                  Participants were presented with a series of pictures
include a would condition in Studies 1–4.                          and instructed to select the last option.
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their written responses to the question “What [should/           measures to obtain a single measure of moral insight that
could] I do?” across the four dilemmas. Because we               we used in our mediation analysis.
achieved high inter-rater reliability, we averaged the
ratings from the two raters for the number of times
                                                                 Results
participants mentioned “could” (ICC3 5 .93, p , .001)
and “should” (ICC3 5 .94, p , .001).                                Table 2 presents the means, standard deviations,
   Divergent thinking. To measure divergent think-               and correlations of the variables we measured. Ap-
ing, we used two different measures based on prior               pendix F reports all additional variables collected
research (Guilford, 1967). First, participants self-             and analyses conducted for this study and all sub-
reported the number of solutions they considered as              sequent studies in this paper.
they answered the question “What [should/could] I                   Manipulation check. We found that those in the
do?” Second, two independent coders rated the ex-                could mindset used the word “could” (M 5 .90, SD 5
tent to which participants’ solutions were “outside of           1.02) more times in their responses than those in
the box” and “spanned different categories of solu-              a should mindset (M 5 .24, SD 5 .45), t(203) 5 6.16, p ,
tions” (1 5 not at all, 4 5 somewhat, 7 5 extremely)             .001, d 5 .86, whereas those in a should mindset wrote
based on Amabile’s (1996) consensual assessment                  more responses containing the word “should” (M 5
technique. We aggregated the two rater’s responses               .29, SD 5 .67) than did those in a could mindset (M 5
into a single measure since the two raters achieved              .12, SD 5 .36), t(203) 5 2.32, p 5 .02, d 5 .33, sug-
high reliability (ICC3 5 .89, p , .001). Below, we               gesting that our manipulation was indeed effective.
present results of both self-reports and external raters            Divergent thinking. We conducted a repeated mea-
separately. We also averaged the standardized scores of          sures analysis of variance (ANOVA) with participant
both internal and external ratings of divergent thinking         mindset (should vs. could) as the between-subjects
as they were highly correlated (ICC1 5 .75, p , .001).           factor, the dilemma as the within-subjects factor, and the
   Moral insight. We triangulated on moral insight in            number of solutions participants reported considering
two ways: using one measure that is more concrete                for each dilemma as the dependent variable. Across the
and another that is more abstract. For the concrete              four dilemmas, participants reported having considered
measure of moral insight, two coders categorized re-             more solutions in the could mindset (M 5 5.11, SD 5
sponses to the question “What would I do?” for each              1.68) than in the should mindset (M 5 4.41, SD 5 1.07),
dilemma as either one of the conventional solutions              F(1, 194) 5 10.70, p , .001, hp2 5 .05. The interaction
(e.g., “steal the money” or “do not steal” in the Heinz          between the dilemma type and mindset was also sig-
dilemma) or one of the set of solutions that two sep-            nificant, F(3, 582) 5 6.53, p , .001, hp2 5 .03.6
arate coders had identified as seeking to address both              We conducted a similar analysis using the coders’
imperatives. For example, solutions in response to the           ratings of how participants’ solutions spanned
Heinz dilemma such as “bring the story to the local              boundaries across the four dilemmas and found that
media” and “start a charitable foundation for my                 having a could mindset increased divergent thinking
spouse” were considered to represent moral insight.              (M 5 3.19, SD 5 1.22) relative to having a should
Because we obtained high reliability between raters              mindset (M 5 2.42, SD 5 1.01), F(1, 202) 5 22.99, p ,
across the four dilemmas, we averaged these ratings              .001, hp2 5 .10. We did not find a significant in-
into a single measure for each dilemma and summed                teraction between the dilemma type and mindset,
these scores across all four dilemmas to obtain a single         F(3, 606) 5 2.08, p 5 .11, hp2 5 .01.
measure of moral insight (ICC3 5 .86, p , .001).
   For our abstract measure of moral insight, two
coders determined whether each solution generated
                                                                    6
met the primary moral imperatives featured in each                    Pairwise comparisons reveal that those in a could mind-
dilemma. Because we obtained high reliability be-                set reported more ideas generated in Dilemma 1 (Mcould 5
tween raters across the four dilemmas, we averaged               1.69, SDcould 5 1.04, Mshould 5 1.31, SDshould 5 .74), p1 5 .004
                                                                 and Dilemma 2 (Mcould 5 1.28, SDcould 5 .61, Mshould 5 1.06,
these ratings into a single measure of moral insight for
                                                                 SDshould 5 .24), p2 5 .001. There did not appear to be a dif-
each dilemma and summed these scores across all
                                                                 ference in the self-reported number of solutions generated
four dilemmas (ICC3 5 .82, p , .001).                            for Dilemma 3 (Mcould 5 1.07, SDcould 5 .26, Mshould 5 1.08,
   Below, we present these measures separately. Be-              SDshould 5 .30), p3 5 .83, and Dilemma 4 (Mcould 5 1.09,
cause our concrete and abstract measures of moral in-            SDcould 5 .29, Mshould 5 1.05, SDshould 5 .22), p4 5 .25.
sight were correlated (ICC3 5 .90, p , .001), we also            Participants may have generated fewer ideas for Dilemmas
averaged the two standardized abstract and concrete              3 and 4 as they were toward the end of the experiment.
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                                                          TABLE 2
                       Means, Standard Deviations, and Correlations for the Variables Measured (Study 1)
                Variable                     Mean          SD           1            2           3             4            5

1. Response contains “could”                 0.56         0.84
2. Response contains “should”                0.21         0.55      20.02
3. Divergent thinking: self-reported total   4.75         1.44       0.52***        0.02
     number of solutions considered
4. Divergent thinking: based on ratings      2.76         1.19        0.41***       0.04      0.60***
     from two independent coders
5. Moral insight solutions (concrete)        0.82         0.83         .23***       0.02      0.36***       0.63***
6. Moral insight solutions (abstract)        1.37         1.06         .28***       0.001     0.39***       0.70***      0.80**

   **p , .01
  ***p , .001

   Moral insight. Using our concrete measure of                       solutions that did not simply select one side of a
moral insight, we found that a could mindset (M 5                     dilemma at the expense of the other, supporting Hy-
1.59, SD 5 1.12) generated more moral insight across                  pothesis 1. We also found evidence in support of Hy-
the four ethical dilemmas relative to a should                        potheses 2 and 3, which predicted that, relative to those
mindset (M 5 1.17, SD 5 .96), F(1, 196) 5 8.99, p 5                   in a should mindset, could thinkers would be more likely
.003, hp2 5 .04. We did not find a significant in-                    to engage in divergent thinking, which would in part
teraction between the dilemma type and mindset,                       explain individuals’ propensity to reach moral insight.
F(3, 588) 5 .89, p 5 .45, hp 2 5 .005.
   Using our abstract measure of moral insight, we                          STUDY 2: “COULD” MINDSET INCREASES
found that a could mindset (M 5 .97, SD 5 .89) gen-                                    MORAL INSIGHT
erated more moral insight across the four ethical di-
lemmas relative to a should mindset (M 5 .68, SD 5                       Study 1 provided evidence consistent with our pre-
.75), F(1, 196) 5 7.05, p 5 .009, hp2 5 .04. We did not               dictions. However, the prior studies relied on hypo-
find a significant interaction between the dilemma                    thetical scenarios rather than real dilemmas faced by
type and mindset, F(3, 588) 5 1.02, p 5 .38, hp2 5 .005.              participants. To address this issue, in Study 2, full-time
   Mediation analysis. We examined whether di-                        employees wrote speeches announcing their decision
vergent thinking—based on our triangulated measure                    about an ethical dilemma adapted from a real ethical
from internal and external ratings—mediated the effect of             challenge that a former executive faced. Employees
a could mindset on participants’ ability to generate moral            were incentivized such that the top 10% of solutions
insight solutions, based on our triangulated measure of               featured in these speeches would be awarded a mone-
moral insight (Baron & Kenny, 1986). A could mindset                  tary prize, as rated by a panel of independent judges.
was positively associated with divergent thinking (b 5                We predicted that, even when incentivized to reach
.32, t 5 4.80, p 5 .001; see Table 3). When controlling for           a higher-quality solution, individuals adopting a could
divergent thinking, the effect of adopting a could mindset            mindset would be more likely to reach moral insight
was reduced to non-significance (from b 5 .20, t 5 2.86,              than those adopting a should mindset.
p 5 .005 to b 5 .001, t 5 .005, p . .99), and divergent
thinking predicted participants’ ability to generate moral            Participants
insight solutions (b 5 .61, t 5 10.46, p , .001). A boot-               Three hundred and ten full-time employees (Mage 5
strap analysis indicated that the 95% bias-corrected                  35.81 years; 49% female) recruited from an online
confidence interval for the size of the indirect effect ex-           Qualtrics panel completed this study.
cluded zero [.12, .28], suggesting a significant indirect
effect (MacKinnon, Fairchild, & Fritz, 2007). Analyses
                                                                      Design and Procedure
with either external or internal ratings of divergent
thinking produced similar results (see Appendix F).                     Whereas we manipulated participants’ mindsets in
                                                                      the previous two studies by directly asking them what
                                                                      they could or should do after reading each dilemma, in
Discussion
                                                                      this study, we sought to instill a could or should mindset
 When asked what they “would” do, could thinkers                      in an unrelated context prior to experiencing a moral
were better able to reach moral insight by generating                 dilemma. Participants were informed that they would
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                                                          TABLE 3
                              Mediation Analysis on Moral Insight Solutions Formulated (Study 1)
                                       Divergent thinking                    Moral insight solutions                  Moral insight solutions

       Variable                              X→M                                     X→Y                                      X, M → Y

Could mindset                                0.32***                                 0.20**                                   0.001
Divergent thinking                                                                                                            0.61***
Adjusted R2                                  0.10                                    0.03                                     0.37
95% bias-corrected CI                                                                                                        [0.12, 0.28]

  Notes: CI 5 standardized confidence interval for the indirect effect. The table reports standardized coefficients for each regression.
    * p , .05
   **p , .01
  ***p , .001


complete a series of different tasks and that the first task                  Based on this information, participants wrote a
would entail evaluating a video for clarity of content.                     speech announcing their decision to the public. The top
Participants were randomly assigned to watch one of                         10% of solutions—as rated by other participants—
two videos that we created to instill either a could or                     received a $5 bonus. Participants then answered a series
should mindset (see Appendix E for a transcript of the                      of questions measuring divergent thinking as well as
video). In these videos, participants learned about one                     their mindset as they wrote the speech (a measure we
way to approach solving a difficult ethical dilemma—by                      used as our manipulation check).
asking oneself either “What could I do?” or “What                             A separate group of 258 individuals (Mage 5 37.69
should I do?” After watching the video, participants                        years; 52% female) from Amazon’s Mechanical Turk
briefly summarized the main message of the video and                        rated five randomly selected speeches such that an
provided comments about the clarity of its content.                         average of 4.19 judges (SD 5 .89) evaluated each
   In the second part of the study, participants read                       speech. For each speech, judges blind to the hy-
about their new role as the president of a non-profit                       potheses of the study rated whether the solutions
organization that “advocates for the elimination of                         were considered moral insights.
child labor in Southeast Asia and aims to increase                            In Study 1, it was possible that adopting a could
efforts to keep these children in school.” As presi-                        mindset might have encouraged participants to meet
dent, they faced a dilemma that featured a tension                          the primary moral imperatives through unethical
between upholding the organization’s mission to                             means (e.g., evading taxes could be one way to avoid
reduce child labor practices and obtaining funding                          stealing from the druggist while also saving the
from a source known to violate child labor laws.                            spouse’s life). To understand whether adopting
                                                                            a could mindset might encourage justifications of
  In recent years, you have struggled to get funding as
                                                                            unethical behavior, judges rated the ethicality and
  political governments have diverted resources to en-
                                                                            overall quality of the solutions provided.
  vironmental concerns and natural disasters taking
  place in the region. . . . You need $100,000 to keep
  your organization open in the next week or you risk
                                                                            Measures
  having to shut down your operations.
                                                                               Manipulation check. At the end of the study,
  Yesterday, TechGen, a multibillion-dollar company that
                                                                            participants rated the extent to which they consid-
  produces technology products, approached you and
  offered to donate $200,000 to your organization. This                     ered what they “could” and “should” do while they
  donation would not only help you reduce your debt, but                    were facing the dilemma (1 5 not at all to 7 5 very
  also infuse your organization with cash, allowing you to                  much).
  start additional projects that would help keep children                      Divergent thinking. After writing their speeches,
  in school. Initially, you were excited about this dona-                   participants rated the degree to which they engaged in
  tion, until you learned about TechGen’s unethical                         divergent thinking based on their responses to the
  practices of using child labor in other countries. You                    following three items: “While writing your speech, to
  suspect that this company has approached you to make                      what extent did you try to open the set of possibilities,”
  a donation to reduce any negative opposition to this                      “explore alternatives,” and “explore different possi-
  company opening factories in the Southeast Asia region.                   bilities before narrowing on your approach?” (a 5 .83).
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   Moral insight. As in Study 1, we triangulated on             manipulation check questions as the within-subjects
moral insight using both concrete and abstract                  factors revealed a significant interaction, F(1, 307) 5
measures. To measure moral insight more con-                    25.09, p , .001, hp2 5 .08. Those in the could mindset
cretely, judges categorized the employees’ solu-                thought about “could” more than “should,” t(148) 5
tions as either one of the conventional solutions               2.37, p 5 .02, d 5 .27, whereas those in the should
(i.e., accept the donation or decline the donation) or          mindset thought about “could” less than “should,”
a solution that incorporated any one of the follow-             t(159) 5 4.58, p , .001, d 5 .52.
ing elements enabling the organization to remain                   Divergent thinking. In support of Hypothesis 2,
viable without forgoing its value to eliminate child            employees in the could mindset condition (M 5 4.98,
labor: accept the money and work with the donor to              SD 5 1.51) engaged in more divergent thinking rel-
remove child labor from its practices, accept the               ative to those in the should mindset condition (M 5
money contingent on the donor changing its prac-                4.57, SD 5 1.41), t(307) 5 2.52, p 5 .01, d 5 .29.
tices, and directly asking the audience for funding.               Conventional solutions. Those in a should mind-
Based on a pilot test, research assistants had identified       set (M 5 .48, SD 5 .41) were more likely to decline the
these responses as solutions that sought to address             money than those in the could mindset (M 5 .32,
both imperatives.                                               SD 5 .41), t(307) 5 3.53, p , .001, d 5 .40. Employees
   To measure moral insight more abstractly, judges             were no more likely to accept the money in the could
explicitly rated (a) whether the solutions fully hon-           condition (M 5 .12, SD 5 .25) than in the should
ored both of the following imperatives, and (b) the             condition (M 5 .10, SD 5 .23), t(307) 5 .53, p 5 .53,
extent to which the solutions met each of these ob-             d 5 .06.
jectives: “allowing the organization to continue op-               Moral insight. Based on the concrete measure of
erating” and “upholding [its] value of eliminating              moral insight, employees in the could mindset con-
child labor” (1 5 not at all to 7 5 a great deal). Across       dition were more likely to provide a solution re-
these items, judges achieved high inter-rater re-               search assistants had identified as meeting both
liability (ICC1 . .76, ps , .001).                              imperatives (M 5 .47, SD 5 .42) than those in the should
   Because the correlation between the abstract and             mindset condition (M 5 .29, SD 5 .37), t(307) 5 3.41,
concrete measures of moral insight was moderately               p , .001, d 5 .44. We provide specific types of solutions
high (ICC1 5 .73, p , .001), we triangulated on the             that were classified as moral insights in Table 4. Based
construct of moral insight by averaging the stan-               on the abstract measure of moral insight, judges
dardized scores of these measures.                              were more likely to classify the solutions from
   Ethicality. Raters also determined the extent to             those in the could mindset (M 5 .40, SD 5 .31) as
which the solution was ethical (1 5 not at all to 7 5           honoring both imperatives compared to those in
extremely).                                                     the should mindset condition (M 5 .32, SD 5 .29),
   Decision quality. Raters also evaluated solutions            t(307) 5 2.75, p 5 .006, d 5 .31.
based on how good the solutions were to determine                  More specifically, solutions based on those in
the speech writers who would receive a monetary                 a could mindset better enabled the organization to
prize (1 5 not at all to 7 5 extremely).                        satisfy its mission to continue operating (M 5 4.30,
                                                                SD 5 1.69) relative to those in a should mindset
                                                                (M 5 3.82, SD 5 1.63), t(307) 5 2.55, p 5 .01, d 5 .29.
Results
                                                                At the same time, could solutions did not do so by
  Table 4 presents the means and standard de-                   sacrificing the organization’s values: that is, should
viations of the variables we measured.                          mindset solutions (M 5 5.34, SD 5 1.42) did not
  Manipulation check. As expected, those adopting               uphold the organization’s values more than could
the could mindset (M 5 5.69, SD 5 1.43) considered              solutions (M 5 5.16, SD 5 1.50), t(307) 5 1.08, p 5
what they could do more than those in the should                .28, d 5 .12.
mindset condition (M 5 5.02, SD 5 1.64), t(307) 5                  Ethicality. Judges did not rate could mindset so-
3.82, p , .001, d 5 .44. Similarly, those in the should         lutions (M 5 5.11, SD 5 1.53) as less ethical than
mindset condition (M 5 5.75, SD 5 1.57) considered              should mindset solutions (M 5 5.25, SD 5 1.41),
what they should do more than those in the could                t(307) 5 .89, p 5 .38, d 5 .25.
mindset condition (M 5 5.38, SD 5 1.49), t(307) 5                  Decision quality. Judges also rated could mindset
2.14, p 5 .03, d 5 .24.                                         solutions as higher in quality (M 5 4.25, SD 5 1.08)
  A repeated measures ANOVA with mindset as the                 than should mindset solutions (M 5 4.00, SD 5 1.09),
between-subjects factor and responses on the two                t(307) 5 2.09, p 5 .04, d 5 .24.
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                                                       TABLE 4
                 Solutions Proposed in Speeches Based on Ratings from 258 Independent Coders (Study 2)
                                                                                   Should                              Could

Conventional Responses
  Accept donation                                                                 0.10                               0.12
  Decline donation                                                                0.48                               0.32
Total                                                                             0.58                               0.44
Moral Insight Solutions
  Appeal to audience for donations                                                0.12                               0.17
  Work with the company to remove child labor from                                0.13                               0.24
    its practices.
  Contingency deal (only accept money if donor                                    0.05                               0.11
    removes child labor from its practices)
Concrete measure of moral insight                                                 0.29                               0.47
Abstract measure of moral insight                                                 0.32                               0.40
Divergent thinking                                                                4.57 (1.41)                        4.98 (1.51)
Ethicality                                                                        5.25 (1.41)                        5.11 (1.53)
Decision quality                                                                  4.00 (1.09)                        4.25 (1.08)

  Note: Standard deviations are presented in parentheses.


   Mediation analysis. We examined whether di-                            We also note that external raters did not judge
vergent thinking mediated the effect of adopting                       could mindset solutions as less ethical relative to
a could mindset on the triangulated measure of                         should mindset solutions. These findings demon-
moral insight (Baron & Kenny, 1986). Adopting                          strate that, when individuals are prompted to think
a could mindset was positively associated with di-                     broadly, the ethicality of their solutions does not
vergent thinking (b 5 .14, t 5 2.48, p 5 .01) (see                     decline. We note that adopting a could mindset (a)
Table 5). When controlling for divergent thinking,                     increased moral insight by decreasing the in-
the effect of adopting a could mindset was signifi-                    dividuals’ propensity to reject unethical money and
cantly reduced (from b 5 .20, t 5 3.56, p , .001 to b 5                (b) did not affect the extent to which individuals
.16, t 5 2.99, p 5 .003), and divergent thinking pre-                  were likely to accept the unethical money. In follow-
dicted the likelihood of reaching moral insight (b 5                   up analyses, rejecting the money and moral insight
.26, t 5 4.71, p , .001). A bootstrap analysis indicated               solutions did not differ in their perceived ethicality,
that the 95% bias-corrected confidence interval for the                b5 2.07, t 5 1.09, p 5 .28, and both actions were
size of the indirect effect excluded zero [.01, .07], sug-             perceived as more ethical than accepting the money,
gesting a significant indirect effect (MacKinnon et al.,               bs . .65, t 5 7.97, ps , .001. Taken together, these
2007).                                                                 findings demonstrate that adopting a could mindset
                                                                       did not encourage solutions that were perceived as
                                                                       less ethical.
Discussion
                                                                          We also note that it is intriguing that could solu-
   Consistent with Hypotheses 1 to 3, participants                     tions were not perceived as more ethical even though
were more likely to reach moral insight in incentive-                  they were more likely to satisfy both moral impera-
compatible contexts. In this study, participants were                  tives and were perceived to be better in quality.
incentivized based on how a panel of independent                       When individuals adopt a should mindset while
judges would rate the quality of the solution proposed.                facing right-versus-right dilemmas, they are often
Consequently, it is possible that participants’ solu-                  choosing to uphold one moral imperative at the ex-
tions did not reflect their true intentions, but, rather,              pense of another. Choosing to forgo one moral im-
the solutions that participants believed would gener-                  perative may provide an indication for how much
ate the highest reward. To address this issue, in Study                the decision-maker values the upheld imperative. In
3 (detailed below), we incentivized participants to                    contrast, moral insights may sufficiently relieve or
adopt a could or should mindset, but did not attach                    preempt the ostensible moral tension such that the
a financial reward to the solutions proposed. Addi-                    ethical nature of the situation itself and the proposed
tionally, in Study 4, participants made a decision that                solution is less pronounced. By removing the tension
would ostensibly impact someone else in the study.                     in the ethical dilemma, moral insight may also
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                                                          TABLE 5
                              Mediation Analysis on Propensity to Generate Moral Insight (Study 2)
                                        Divergent thinking                    Moral insight solution                   Moral insight solution

      Variable                                X→M                                     X→Y                                     X, M → Y

Could mindset                                 0.14***                                0.19***                                  0.15**
Divergent thinking                                                                                                            0.25***
Adjusted R2                                   0.02                                   0.04                                     0.09
95% bias-corrected CI                                                                                                        [0.01, 0.07]

  Notes: CI 5 standardized confidence interval for the indirect effect. The table reports standardized coefficients for each regression.
    * p , .05
   **p , .01
  ***p , .001



remove salience of the ethicality of the decision at                        with others, we investigated, in Study 3, the extent to
hand.7 Consequently, it may be possible for a moral                         which a could mindset changes exploration of viable
insight solution that satisfies more moral impera-                          alternatives in interpersonal discussions. We con-
tives to be rated as no more ethical than a conven-                         ducted this study in a laboratory setting and in-
tional solution that satisfies fewer moral imperatives                      centivized individuals in dyads to adopt either
because the moral insight solution reduces or even                          a could or a should mindset. We expected to find that
removes the salient ethical tension in the original                         dyads adopting a could mindset would generate
problem.                                                                    a greater number of solutions (Hypothesis 2). Fur-
                                                                            ther, we hypothesized that these dyadic interactions
                                                                            would in turn influence individuals’ private decision-
            STUDY 3: “COULD” CHANGES
                                                                            making, leading individuals to generate moral insight
               THE CONVERSATION
                                                                            (Hypotheses 1 and 3).
  Two studies showed that could mindsets increase
divergent thinking and consequently the likelihood
                                                                            Participants
of reaching moral insight in private contemplation.
Because individuals often discuss ethical challenges                          Two hundred and two individuals (Mage 5 22.97
                                                                            years; 49.5% female) forming one hundred and one
                                                                            dyads participated in a lab study at a university in the
  7
    For example, consider an individual, who, after con-                    northeastern United States in exchange for $20 and
templating the Heinz dilemma, decides to steal the drug in                  the opportunity to earn an additional $2 based on
order to save their spouse’s life. When judging the ethicality of
                                                                            their execution of instructions provided.
the decision to break into the drugstore, individuals may infer
that the decider took a deontological approach that de-
termined the duty to uphold one’s right to life was more im-                Design and Procedure
portant that the duty to uphold the law. Thus, the significance
of upholding the duty to life is measured by what the indi-                    Participants were randomly assigned to adopt
vidual is willing to give up to uphold that value. However,                 either a could mindset or a should mindset while
when individuals adopt a could mindset, they relieve or                     discussing an ethical dilemma with a randomly
preempt the ostensible moral tension so that the ethicality of              assigned partner. All participants read an adaptation
the solution is less pronounced. Evaluators are not weighing                of the analyst’s dilemma (Badaracco & Useem, 1993),
a battle of principles anymore. By not seeing a sacrifice of                which involved deciding whether to tell their boss
either moral imperative, it may be more difficult for observers             strictly confidential information that would help the
to determine whether the moral insight solution is somehow
                                                                            company, but would hurt the individual who di-
ethically better than a solution that selects one imperative
                                                                            vulged this information (see Dilemma 4 in Appendix
over the other. In the Heinz dilemma, a moral insight solution
such as using social media to raise money for the drug—a                    D). Dyads were given the opportunity to discuss this
solution that relieves the tension between saving a life and                dilemma for 15 minutes in a virtual chat room, and
breaking the law—removes ethical salience in the problem                    were informed they could end the conversation
that would otherwise provide an indication for how much the                 earlier if they finished discussing the dilemma in
decision-maker valued each of the ethical imperatives.                      the allotted time. To ensure participants would
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                                                           TABLE 6
                                  Solutions Discussed in Conversations with Partner (Study 3)
                                                               Categorization of each unique
                                                                   solution discussed in                Categorization of individuals’
                                                                      conversations                               decisions

                                                               Should                 Could             Should                Could

Conventional Responses
  Tell boss confidential information                          0.67                  0.78               0.32                 0.26
  Keep information confidential                               0.55                  0.54               0.34                 0.19
Total Conventional Responses                                  1.22 (.34)            1.32 (.46)          .65 (.45)            .44 (.48)
Moral Insight Solution
  Ask roommate for permission to tell boss                    0.12                  0.13               0.12                 0.23
   confidential information
  Convince the roommate that information ought to be          0.18                  0.27               0.12                 0.16
   revealed to boss
  Make information anonymous (provide an                      0.19                  0.40               0.12                 0.23
   anonymous tip, making source of information
   anonymous, or both)
  Obtain same information through other channels              0.03                  0.07               0.03                 0.09
   first before telling boss
  Notify boss that he should investigate the company          0.04                  0.12               0.07                 0.12
   and arrive at same information independently
Total Moral Insight Solutions                                 0.57 (0.65)           0.99 (0.84)        0.32 (0.44)          0.53 (0.48)

  Note: Means represent the averaged binary coding of two independent coders.



remember to adopt either a could or should mindset                         “should” in the conversations. The agreement be-
during their conversations, we incentivized partici-                       tween raters was significantly above and beyond
pants such that those randomly assigned to adopt                           chance agreement (kcould 5 .74, pcould , .001, kshould 5
a could mindset received $2 if they asked their partner                    .50, pshould , .001).
“What could we do?” during the interaction, whereas                           Divergent thinking. We triangulated on our mea-
should mindset participants received $2 if they asked                      sure of divergent thinking based on the total number
their partner “What should we do?” At the end of                           of solutions discussed as well as the extent to which
the discussion, all participants then answered the                         each of these solutions spanned different categories.
question, “What would you do?” Participants were                           Two coders identified the number of instances dur-
instructed that they did not need to agree with their                      ing each conversation when individuals suggested
partner on their decision of what they “would” do.                         a new solution (ICC3 5 .76, p , .001; see Table 6).
   Two independent coders blind to the hypotheses                          Additionally, these two coders rated the extent to
of the study coded for divergent thinking based on                         which the discussions contained ideas that spanned
the solutions discussed and moral insight based on                         different categories of solutions (1 5 not at all, 3 5
solutions individuals chose (see Table 6, above for                        somewhat, 5 5 extremely; ICC3 5 .61, p , .001).
examples).                                                                 Because there was high inter-rater reliability be-
   One hundred independent coders (Mage 5 31.85;                           tween these two measures of divergent thinking
41% female) then rated each of the unique categories                       (ICC3 5 .76, p , .001), we averaged the standardized
of solutions provided based on the perceived crea-                         scores of these measures to obtain a single rating of
tivity and quality of the solution.                                        divergent thinking.
                                                                              Duration of discussion. To understand whether
                                                                           the content of thought or the length of time discus-
Measures
                                                                           sing dilemmas was a stronger predictor of reaching
   Table 6 presents the means and standard devia-                          moral insight, we measured the amount of time that
tions of the variables we measured.                                        participants spent conversing with their partners
   Manipulation check. Two independent coders                              about the moral dilemma.
blind to the hypotheses of the study recorded                                 Moral insight. To triangulate on our measure of
whether participants used the words “could” and                            moral insight, we used similar concrete and abstract
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measures as in Studies 1 and 2. For our concrete                  Divergent thinking. Having a could mindset eli-
measure of moral insight, two independent raters               cited more responses on average from individuals
coded the solutions as either a conventional solution          (M 5 2.39, SD 5 1.06) than did having a should
(i.e., tell the boss the information or keep the in-           mindset (M 5 1.84, SD 5 .72), based on the coding of
formation confidential) or as one of the many un-              all ideas generated during the discussions, t(99) 5
conventional solutions that two separate research              3.07, p 5 .003, d 5 .62 (see Table 6). Additionally,
assistants had identified as upholding both the duty           two external coders perceived possibilities dis-
to the organization and loyalty to the roommate (see           cussed in the could mindset as being more boundary
Table 6 for examples). Solutions were coded as                 spanning (M 5 2.74, SD 5 1.02) than ideas discussed
moral insight if they contained at least one of these          under a should mindset (M 5 2.22, SD 5 .95), t(99) 5
unconventional solutions. Because the two raters               2.63, p 5 .01, d 5 .53.
achieved high agreement (k 5 .81, p , .001), we av-               Conventional solutions. Based on ratings of two
eraged the two coder’s ratings to obtain a single rating       independent coders, those with a could mindset
of moral insight.                                              were less likely to choose a conventional solution
   For our abstract measure of moral insight, partici-         (44%) relative to those in a should mindset (65%),
pants rated the extent to which they believed their            t(198) 5 3.22, p , .001, d 5 .46. More specifically,
solutions met multiple imperatives presented in the            could responders were less likely to choose inaction
dilemma (1 5 met only one objective, 7 5 met all               (19%) than should responders (33%), t(198) 5 2.41,
objectives).                                                   p 5 .02, d 5 .34. We did not find a difference be-
   The correlation between external coders’ ratings of         tween could and should responders on whether
moral insight and individuals’ perception of moral             they would tell their boss the confidential infor-
insight was moderately high (ICC3 5 .67, p , .001).            mation without consulting their friend, t(198) 5 .91,
To triangulate on the construct of moral insight, we           p 5 .36.
averaged the standardized scores between external                 Moral insight. For our concrete measure of moral
judges’ perceptions of moral insight and internal              insight based on ratings of two independent coders,
raters’ self-assessment of the extent to which their           those with a could mindset were more likely to pro-
solutions met both moral imperatives.                          pose a solution that would simultaneously protect
   Decision quality. One hundred independent                   the friend and provide critical information to their
raters blind to the hypotheses also judged these cat-          boss (53%) relative to those in a should mindset
egories of alternative solutions based on the crea-            (31.8%), t(198) 5 3.24, p , .001, d 5 .46.
tivity (1 5 not at all creative to 7 5 extremely                  Based on our abstract measure of moral insight,
creative) and quality of the solution (1 5 extremely           participants adopting a could mindset believed their
bad solution, 4 5 neither good nor bad, 7 5 extremely          solutions met more imperatives (M 5 4.35, SD 5
good solution).                                                2.01) compared to those in the should mindset (M 5
                                                               3.60, SD 5 1.94), t(198) 5 2.72, p 5 .007, d 5 .39.
                                                                  Decision quality. A separate group of one hun-
Results
                                                               dred independent raters found these moral insight
  Manipulation check. Participants in the should               solutions to be more creative (M 5 4.30, SD 5 .93) and
mindset were more likely to mention “should” (M 5              higher in quality (M 5 4.96, SD 5 .90) than solutions
99.0%, SD 5 .07) in their discussion with their                that entailed selecting one imperative over the
partner than those in the could mindset (M 5 29.8%,            other (i.e., either keeping the information confiden-
SD 5 .28), t(99) 5 16.53, p , .001, d 5 3.32; similarly,       tial or telling the boss) (Mcreative 5 1.90, SDcreative 5
those in the could mindset were more likely to                 1.12; Mquality 5 3.27, SDquality 5 1.08), tcreative (99) 5
mention “could” (M 5 94.2%, SD 5 .16) in their                 20.79, pcreative , .001, dcreative 5 2.33, tquality (99) 5
discussion than those with a should mindset (M 5               12.13, pquality , .001, dquality 5 1.69.
7.1%, SD 5 .18), t(99) 5 25.89, p , .001, d 5 5.20.               Mediation analysis. We examined whether the
  Duration of discussion. Dyads discussing what                triangulated measure of divergent thinking would
they “could” do spent more time discussing the di-             mediate the effect of adopting a could mindset on the
lemma (M 5 601.91 seconds, SD 5 310.5) than did                propensity to reach moral insight as operationalized
dyads discussing what they “should” do (M 5 482.85             based on the average of standardized external and
seconds, SD 5 246.97), t(99) 5 2.17, p 5 .03, d 5 .43.         internal perceptions of moral insight (Baron &
We addressed this potential confound in our sub-               Kenny, 1986). Because those in the could condition
sequent mediation analyses.                                    spent more time chatting, we controlled for the
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                                                            TABLE 7
                                      Mediation Analysis on Reaching Moral Insight (Study 3)
                                        Divergent thinking                    Moral insight solution                   Moral insight solution

       Variable                               X→M                                     X→Y                                     X, M → Y

Could mindset                                 0.25***                                0.23***                                   0.09
Divergent thinking                                                                                                             0.57***
Discussion duration                           0.22***                                0.04                                    20.09
Adjusted R2                                   0.12                                   0.05                                      0.33
95% bias-corrected CI                                                                                                         [0.07, 0.22]

  Notes: CI 5 standardized confidence interval for the indirect effect. The table reports standardized coefficients for each regression.
    * p , .05
   ** p , .01
  ***p , .001



amount of time spent discussing these solutions.                            together, could mindsets not only encouraged in-
Adopting a could mindset was positively associated                          dividuals to spend more time thinking about moral
with the number of solutions generated (b 5 .25, t 5                        dilemmas, but also substantively changed how
3.68, p , .001) (see Table 7). When controlling for the                     individuals spent their time thinking about
number of solutions, the effect of adopting a could                         them—from choosing among the ethical impera-
mindset was significantly reduced (from b 5 .23, t 5                        tives in conflict to expanding the set of options that
3.24, p 5 .001 to b 5 .09, t 5 1.39, p 5 .017), and                         honor these imperatives.
divergent thinking predicted the likelihood of pro-                            A critical limitation of Studies 1 to 3 is that we
posing a moral insight solution (b 5 .57, t 5 9.31, p ,                     measured moral insight based on what participants
.001). A bootstrap analysis indicated that the 95%                          indicated they would do across a series of scenarios,
bias-corrected confidence interval for the size of the                      rather than directly responding to the dilemma in
indirect effect excluded zero [.07, .22], suggesting                        a way such that their behaviors would impact the
a significant indirect effect (MacKinnon et al., 2007).8                    dilemma’s key constituents. Thus, it is possible that
                                                                            participants identified solutions that they would
                                                                            not have actually enacted if we measured follow-
Discussion
                                                                            through behavior. We address this issue in Study 4
   Results from this study support our predictions in                       by exploring a context in which participants’ actions
Hypotheses 1 to 3 at the dyadic level. Adopting                             would ostensibly impact others featured in an ethical
a could mindset influences moral insight through                            dilemma.
divergent thinking, even when individuals have the
opportunity to discuss possible solutions with one
                                                                                STUDY 4: “COULD” IN THE PRESENCE OF
another. These findings demonstrate that developing
                                                                                             SELF GAIN
a could mindset is not merely helpful for individual
moral decision-making, but also for groups of in-                             Because prior research on right-versus-right di-
dividuals confronting ethical challenges.                                   lemmas has focused on how individuals reason
   In group contexts, we find that adopting a could                         through moral dilemmas, existing research on di-
mindset encouraged individuals to spend more time                           lemmas mostly entailed presenting individuals with
discussing these dilemmas and generating more                               hypothetical scenarios, including the ones we used
ideas. Even controlling for the duration of dis-                            in our Studies 1–3 (Greene et al., 2001; Toffler, 1986).
cussion, we continued to find that adopting a                               Therefore, to study how individuals select a path
could mindset increased divergent thinking and                              other than the salient options presented, Study 4
the propensity to reach moral insight. Taken                                moves beyond the study of scenarios and employs
                                                                            a paradigm such that participants face a dilemma
   8
     Mediation analyses without time as a control variable                  in which their resolution would ostensibly have
reveal similar results such that the indirect effect of being               a real impact. Thereby, given the limitations of re-
in a could mindset on reaching moral insight via increased                  lying on vignettes in the field of behavioral ethics
divergent thinking excludes zero (.10, .23).                                (Kish-Gephart, Harrison, & Treviño, 2010), we seek
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to understand how developing a could mindset not              individuals in a could mindset were more likely to
only affects planned moral insights (Studies 1–3) but         help another individual without sacrificing a moral
also enacted moral insights.                                  principle. However, we predicted that, when di-
   This experiment also seeks to advance the study            lemmas also entail the temptation to break one
of organizational ethics—which often separates                ethical principle for self-gain, adopting a could
situations in which two ethical principles collide            mindset might encourage individuals to break their
from situations in which self-interest and ethics             moral principle in order to advance their own in-
compete—by introducing dilemmas that are more                 terest. Prior research has found that creativity in-
complex. In many real-world situations, dilemmas              creases unethical behavior in right-versus-wrong
feature more than a contest of two moral princi-              contexts (Gino & Ariely, 2012; Vincent & Kouchaki,
ples. In fact, some dilemmas are hybrids that entail          2016). When individuals have the opportunity to
both a conflict of ethical principles or conse-               cheat for self-gain, triggering them to think more
quences (right vs. right) and the temptation to vi-           creatively enables them to more readily justify their
olate one moral principle for self-gain (right vs.            unethical actions and increases unethical behavior
wrong). For example, imagine that an employee                 (Gino & Ariely, 2012). Thus, the possibility re-
feels pressured to inflate his/her company’s sales            mains that, in hybrid dilemmas (where self-gain is
in order to land a client that would save the firm            a temptation), engaging in a could mindset might
from dissolution and also to obtain a promotion.              lead individuals to pursue a self-serving solution
Or, perhaps a team leader feels pressured to exag-            (that also conveniently helps someone else) at the
gerate a teammate’s involvement in order to pro-              expense of a moral principle. Thus, we hypothesize
tect that teammate from getting fired and also to             that:
signal to senior managers that the team leader is an
                                                                 Hypothesis 4. Whereas shifting from a should to
effective employee who deserves an annual bonus.
                                                                 a could mindset increases moral insight in right-
In these examples, individuals are weighing the                  versus-right dilemmas, adopting a could mindset in-
costs of violating an ethical principle (e.g., being             creases ethical violations that benefit the self in hybrid
honest) against the benefits of upholding another                dilemmas.
principle (e.g., duty to the organization in the first
example, or desire to protect a teammate in the
second) and personally benefiting (e.g., getting              Participants
a promotion or raise). In this study, we investigate
how adopting a could mindset affects the pro-                   Five hundred and seventy-two individuals (Mage 5
pensity to reach moral insight when the temptation            27.18 years; 48% female), full-time and part-time
for self-gain may pull individuals to prioritize one          students in the United States, participated in this
imperative over another.                                      study in exchange for $5.
   To test the idea that adopting a could mindset
may have differential effects depending on the type
                                                              Design and Procedure
of ethical dilemma, participants confronted either
(a) a right-versus-right dilemma in which they could            Participants were randomly assigned to one of four
act dishonestly in order to help their partner or (b)         conditions in a 2 (Mindset: could vs. should) 3 2
a hybrid dilemma in which they could act dishon-              (Dilemma: right–right vs. hybrid) factorial design. At
estly in order to benefit both their partner and              the beginning of the study, participants read that they
themselves. In the right-versus-right condition, in-          would be matched to an individual from the commu-
dividuals faced three main courses of action: (1) act         nity who is seeking help from them. They were in-
unethically to help an individual in need; (2) act            formed that this individual has written them a message
ethically, but fail to help this individual; or (3) de-       and they could respond to help this individual during
velop moral insight (i.e., act ethically and help this        the study. After participants were ostensibly paired
individual). In the hybrid dilemma, individuals               with their partner, they were asked to write a brief
faced the same possibilities and, in addition, they           introduction about themselves to their partner that
could also benefit personally when they acted                 would apparently be sent to their partner. Participants
unethically.                                                  then received their partner’s introductory message,
   In Studies 1 to 3, individuals who adopted a               in which they learned that their partner was recently
could mindset were more likely to develop moral               unemployed and seeking help to pay for their children’s
insight in right-versus-right dilemmas. That is,              education. All participants were sent the following
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request to act dishonestly in order to help this in-                    7 5 extremely) based on Amabile’s (1996) consensual
dividual save costs on school supplies:                                 assessment technique. We aggregated the raters’ re-
                                                                        sponses into a single measure since our raters
  MESSAGE FROM PARTNER: I am a parent of three children
                                                                        achieved high reliability (ICC2 5 .86, p , .001).
  and just recently lost my job. Now that school is starting,
                                                                           Conventional solutions. We operationalized an
  I am struggling to find the money to buy school supplies
  for my kids. So far, I’ve been trying to find deals online            ethical violation if the individual offered to create or
  that will give me discounts until I get back on my feet.              provide five email addresses to the individual request-
                                                                        ing help. We also measured when individuals declined
  Right now, lots of companies are giving people dis-                   to help, enabling them to uphold the moral principle
  counts if customers introduce their friends to prod-                  of honesty, but also preventing them from helping
  ucts or services. One of the companies that is running                the individual in need.
  a promotion right now is Amazon.com. [Right–right:                       Moral insight. We measured moral insight using
  For each new friend that I refer, I can get $10. Hybrid:              both a concrete and abstract measure. As a more con-
  For each new friend that I refer, we both get an addi-
                                                                        crete measure, judges categorized the employees’ so-
  tional $10.]
                                                                        lutions as either a conventional solution (i.e., offering
  I would like five people to sign up, but am having                    five email addresses or declining to help in any way) or
  trouble recruiting. Are you willing to sign up as five                an unconventional one that included at least one of the
  different people to help me? All you would need is to                 following elements: offering to share the request with
  pretend to be five different people and provide five                  other friends to receive the discount legitimately, pro-
  different emails. [Right–right: That way, you will help               viding resources or suggestions about ways to save
  me save $50. Hybrid: That way, we can both save $50.]                 money, and/or offering to sign up legitimately as
   To ensure that participants spent approximately the                  one person. Based on a pilot test, research assistants
same amount of time contemplating this request, par-                    identified these solutions as the most common type
ticipants were instructed to write what they could or                   of response that sought to address both of the pri-
should do to help their partner for 1 minute. Partici-                  mary values.
pants learned that their initial thoughts would not be                     As a more abstract measure of moral insight,
sent to their partner. After contemplating what they                    judges also evaluated whether the solutions fully
could or should do, participants then provided a re-                    honored both of the following imperatives or prior-
sponse that would ostensibly be sent to the partner.                    itized one imperative over the other: “helping their
After sending the response, participants were debriefed                 partner support their children’s’ education” and
about the purpose of the study and received a flat pay-                 “upholding the value of honesty.” Across all items,
ment of $5, regardless of the content in their responses.               these judges achieved high inter-rater reliability
   A separate group of 272 individuals (Mage 5 38.24                    (ICC1 . .80, ps , .001).
years; 59% female) from an online panel rated five                         Because the concrete and abstract measure of
randomly selected messages such that an average of                      moral insight was highly correlated (ICC1 . .90, ps ,
5.27 judges (SD 5 1.01) evaluated each response. For                    .001), we standardized these measures and averaged
each response, judges blind to the hypotheses of the                    them to obtain a single measure of moral insight.
study rated whether participants engaged in divergent                      Ethicality. Raters also determined the extent to which
thinking during the brainstorming process, whether                      the solution was ethical (1 5 not at all to 7 5 extremely).
each solution moved beyond simply accepting or de-
clining their partner’s request, the extent to which                    Results
each solution honored both moral imperatives in the
dilemma, and the ethicality of each solution.                             Table 8 presents the means and standard de-
                                                                        viations of the variables we measured.
                                                                          Manipulation check. As expected, those adopting
Measures
                                                                        a could mindset were more likely to use the word
   Manipulation check. As a manipulation check, we                      “could” (90%, 256/284) than those adopting a
coded whether individuals used “could” or “should”                      should mindset condition (4%, 12/288), x2(1, N 5
in their response to our intervention prompt.                           572) 5 424.46, p , .001, Cramér’s V 5 .86. Similarly,
   Divergent thinking. As in Study 1, independent                       those in the should mindset condition (94%, 266/
coders rated the extent to which participants’ solu-                    288) were more likely to use the word “should” than
tions were “outside of the box” and “spanned different                  those in a could mindset (1%, 3/284), x2(1, N 5
categories of solutions” (1 5 not at all, 4 5 somewhat,                 572) 5 478.52, p , .001, Cramér’s V 5 .92.
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                                                          TABLE 8
             Descriptive Statistics by Condition for Responses to the Question “What Would You Do?” (Study 4)
                                                             Right vs. Right                                   Self-Gain

                                                    Should                      Could             Should                    Could

Conventional Responses
  Accepting request                                0.23 (0.36)                 0.16 (0.31)       0.17 (0.31)               0.15 (0.31)
  Declining request                                0.30 (0.39)                 0.21 (0.34)       0.24 (0.36)               0.27 (0.36)
Moral Insight Responses
  Signing as one individual                        0.22 (0.35)                 0.25 (0.36)       0.25 (0.38)               0.25(0.36)
  Offering to share request in network             0.14 (0.29)                 0.24 (0.36)       0.17 (0.30)               0.24 (0.35)
  Providing other resources for help               0.19 (0.32)                 0.24 (0.35)       0.23 (0.35)               0.22 (0.33)
Concrete measure of moral insight                  0.44 (0.42)                 0.58 (0.42)       0.54 (0.42)               0.54 (0.43)
Abstract measure of moral insight                  0.32 (0.31)                 0.44 (0.34)       0.35 (0.34)               0.38 (0.32)
Divergent thinking                                 2.95 (1.33)                 3.42 (1.46)       3.32 (1.36)               3.32 (1.46)
Ethicality                                         4.58 (1.71)                 4.90 (1.66)       4.91 (1.70)               4.84 (1.77)

  Note: Standard deviations are reported in parentheses.


   Divergent thinking. We conducted an ANOVA                             of helping another) (M 5 .15, SD 5 .31) relative to
with ratings of divergent thinking as the dependent                      having a should mindset (M 5 .17, SD 5 .31), p 5 .70.
variable, and dilemma type, mindset, and their in-                          Additionally, we conducted a similar ANOVA
teraction as the independent variables. We found                         with a refusal to violate ethics to help their partner
a significant main effect of adopting a could mindset                    (and themselves in the hybrid dilemma) as the de-
such that those in a could mindset engaged in more                       pendent variable. We found a marginal interaction
divergent thinking (M 5 3.37, SD 5 1.45) than those in                   between dilemma type and adopting a could mind-
a should mindset (M 5 3.13, SD 5 1.36), F(1, 568) 5                      set, F(1, 568) 5 3.17, p 5 .08, hp2 5 .006. For right-
4.12, p 5 .04, hp2 5 .007. We also found a significant                   versus-right dilemmas, participants in the could
interaction between dilemma type and adopting                            mindset were directionally less likely to lie to refuse
a could mindset, F(1, 568) 5 4.11, p 5 .04, hp2 5 .007.                  help (M 5 .21, SD 5 .34) than those in a should
Simple effects analyses revealed that, for right-                        mindset (M 5 .30, SD 5 .39), p 5 .04. However, when
versus-right dilemmas, participants in a could                           individuals faced a hybrid dilemma that involved
mindset were more likely to engage in divergent                          self-gain, having a could mindset did not increase
thinking (M 5 3.42, SD 5 1.46) than those in a should                    refusal to help (M 5 .27, SD 5 .36) relative to having
mindset (M 5 2.95, SD 5 1.33), p 5 .004. However,                        a should mindset (M 5 .24, SD 5 .36), p 5 .63. We did
when individuals faced a dilemma that involved                           not find a main effect of dilemma type or mindset, Fs ,
self-gain, having a could mindset did not impact di-                     1.22, ps . .27.
vergent thinking (M 5 3.32, SD 5 1.37) relative to                          Moral insight. We conducted a similar ANOVA
having a should mindset (M 5 3.32, SD 5 1.46),                           with the concrete measure of moral insight as the
p 5 .99.                                                                 dependent variable. We found a main effect of
   Conventional responses. We conducted a similar                        adopting a could mindset such that those in a could
ANOVA with ethical violations (i.e., accepting the                       mindset were more likely to reach moral insight so-
partner’s request) as the dependent variable. We did                     lutions (M 5 .56, SD 5 .42) than those in a should
not find a main effect of dilemma type or an in-                         mindset (M 5 .49, SD 5 .42), F(1, 568) 5 3.84, p 5
teraction between dilemma type and adopting                              .051, hp2 5 .007. This main effect was qualified by
a could mindset, Fs , 2.33, ps . .33. For right-versus-                  a marginal interaction between mindset and di-
right dilemmas, participants in the could mindset                        lemma type, F(1, 568) 5 4.04, p 5 .05, hp2 5 .007. For
were directionally less likely to cheat in order to help                 right-versus-right dilemmas, participants in the
their partner (i.e., offer five different accounts) (M 5                 could mindset were more likely to reach insight (M 5
.23, SD 5 .36) than those in a should mindset (M 5                       .58, SD 5 .42) than those in a should mindset (M 5
.16, SD 5 .31), p 5 .07. However, counter to our                         .44, SD 5 .42), p 5 .005. However, when individuals
predictions about hybrid dilemmas that involve self-                     faced a dilemma that involved self-gain, having
gain, having a could mindset did not affect the pro-                     a could mindset did not affect the propensity of in-
pensity to violate ethics for self-gain (with the benefit                dividuals reaching moral insight (M 5 .54, SD 5 .43)
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                                                         TABLE 9
                               Mediated Moderation Analysis on Reaching Moral Insight (Study 4)
                                                        Divergent thinking            Moral insight solution           Moral insight solution

                  Variable                                    X→M                             X→Y                             X, M → Y

Could mindset                                                  0.08*                           0.10*                            0.04
Dilemma type (1 5 hybrid, 0 5 right vs. right)                 0.05                          , 0.001                          20.04
Mindset 3 Dilemma                                             20.08*                         20.08†                           20.02
Divergent thinking                                                                                                              0.72***
Adjusted R2                                                     0.02                            0.01                            0.52
95% bias-corrected CI for right versus right                                                                                 [0.04, 0.19]
95% bias-corrected CI for hybrid                                                                                            [20.08, 0.08]

  Notes: CI 5 standardized confidence interval for the indirect effect. The table reports standardized coefficients for each regression.
     †
       p , .10
    *p , .05
   ** p , .01
  ***p , .001


relative to having a should mindset (M 5 .54 SD 5                            b 5 2.08, t 5 21.88, p 5 .06 to b 5 2.02, t 5 2.61, p 5
.42), p 5 .97.                                                               .55), and divergent thinking predicted the likeli-
   We conducted a similar analysis with the abstract                         hood of proposing a moral insight solution (b 5 .72,
measure of moral insight based on raters’ perception                         t 5 24.51, p , .001). For those facing a right-versus-
of whether the solution honored both of the primary                          right dilemma, a 10,000 sample bootstrap analysis
moral imperatives as the dependent variable. We                              showed that the 95% bias-corrected confidence in-
found a significant main effect of adopting a could                          terval for the size of the indirect effect excluded zero
mindset such that those in a could mindset were                              [.04, .19], suggesting a significant indirect effect
more likely to honor both moral imperatives (M 5                             (Preacher & Hayes, 2004). However, for those in the
.41, SD 5 .33) than those in a should mindset (M 5                           hybrid condition, the 95% bias-corrected confidence
.34, SD 5 .32), F(1, 568) 5 6.24, p 5 .01, hp2 5 .01. We                     interval for the size of the indirect effect included zero
did not find a main effect of dilemma type or an in-                         [2.08, .08], suggesting that divergent thinking did not
teraction between dilemma type and adopting                                  mediate the relationship between being in a could
a could mindset, Fs , 2.48, ps . .12. For right-versus-                      mindset and reaching moral insight.
right dilemmas, participants in the could mindset                               Taken together, these findings demonstrate that,
were more likely to reach insight (M 5 .44, SD 5 .34)                        when individuals are facing a right-versus-right di-
than those in a should mindset (M 5 .32, SD 5 .31), p                        lemma, having a could mindset helps them engage in
5 .004. However, when individuals faced a dilemma                            greater divergent thinking, enabling them to reach
that involved self-gain, having a could mindset did                          moral insights; however, when self-gain is involved
not affect the propensity of individuals reaching                            in similar collisions of imperatives, having a could
moral insight (M 5 .38, SD 5 .32) relative to having                         mindset did not generate moral insight, in part be-
a should mindset (M 5 .35 SD 5 .34), p 5 .51.                                cause having a could mindset did not trigger more
   Ethicality. We conducted a similar analysis with                          divergent thinking.
ratings of ethicality as the dependent variable. We
did not find a main effect of dilemma type, mindset,
                                                                             Discussion
or the interaction of these two factors, Fs , 1.71,
ps . .19.                                                                       Counter to our predictions in Hypothesis 4, shift-
   Mediation analysis. We conducted a mediated                               ing to a could mindset did not increase self-dealing
moderation analysis to test how the triangulated                             in hybrid dilemmas that involved the temptation to
measure of divergent thinking explains the in-                               lie for self-dealing. Our prediction was based on
teraction between mindset and dilemma type on the                            prior research showing that creativity increases un-
triangulated measure of moral insight (see Table 9).                         ethical behavior when the temptation for self-gain is
When controlling for divergent thinking, the in-                             present, enabling individuals to consider a wide
teraction between adopting a could mindset and the                           range of acceptable reasons to cheat (Gino & Ariely,
type of dilemma was significantly reduced (from                              2012). In prior studies, there was one primary outlet
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for creativity: through unethical behavior. Results           as interpersonal contexts (Study 3). Furthermore,
from this study demonstrate that, in self-dealing di-         findings from Study 4 demonstrated that adopting
lemmas in which creativity can be expressed ethi-             a could mindset is helpful for generating moral
cally (i.e., through the enactment of moral insight),         insight in right-versus-right contexts, but neither
more divergent thinking may not necessarily lead to           helpful nor destructive for hybrid dilemmas that
more cheating. In fact, even in dilemmas that entail          involve self-gain. Together, these findings show that
self-gain, divergent thinking is prompted in service          a shift in mindset from “What should I do?” to “What
of finding ethical routes to the gain.                        could I do?” leads to moral insight in precisely those
   While, in right-versus-right dilemmas, partici-            situations that mangers find most challenging ethi-
pants in a could mindset engaged in more divergent            cally, enabling people to formulate solutions that
thinking than those in a should mindset, in hybrid            resolve the tension between competing imperatives
dilemmas with some self-gain on the line, in-                 across a series of ethical dilemmas.
dividuals with a should mindset engaged in just as
much divergent thinking as those with a could
                                                              Theoretical Implications
mindset. These findings demonstrate that, when
temptations for self-gain are present in dilemmas,               The present work contributes to research on be-
individuals, regardless of their mindset, may be              havioral ethics, creativity, and decision-making. Re-
more motivated to engage in divergent thinking that           cent research on ethics in organizations has largely
leads to moral insight benefitting the ethical imper-         focused on the antecedents and consequences of
atives in play and the decider. Consequently, al-             misconduct (Bazerman & Gino, 2012; Treviño, den
though adopting a could mindset generated moral               Nieuwenboer, & Kish-Gephart, 2014; Mead, Baumeister,
insight in right-versus-right dilemmas, adopting              Gino, Schweitzer, & Ariely, 2009; Schweitzer et al.,
a could mindset did not increase moral insight in             2004; Tenbrunsel, 1998; Tenbrunsel, Diekmann,
hybrid dilemmas. Overall, this pattern of findings is         Wade-Benzoni, & Bazerman, 2010), investigating
explained by the difference in divergent thinking             the factors that influence individuals who care about
driven by participants’ mindset and the type of di-           morality to act unethically (Bryan, Adams, & Monin,
lemma they were facing.                                       2012; Covey, Saladin, & Killen, 1989; Hershfield,
                                                              Cohen, & Thompson, 2012; Jordan, Mullen, &
                                                              Murnighan, 2011; McCabe, Treviño, & Butterfield,
             GENERAL DISCUSSION
                                                              2001), and the impact of these actions in the work-
   Given that moral dilemmas are vexing and diffi-            place (Greenberg, 1993; Palmer, 2012; Pfarrer,
cult to solve because they often force individuals to         Decelles, Smith, & Taylor, 2008). More recently, the
prioritize one moral imperative over another, we              field has examined the impact of tools to help em-
have considered interventions aimed to help in-               ployees and managers make more ethical decisions
dividuals think more expansively about possible               when facing temptations to cheat (Gino & Margolis,
solutions. We studied moral insight and demon-                2011; Moore & Gino, 2013; Shu, Mazar, Gino, Ariely,
strated its importance in the context of moral di-            & Bazerman, 2012). Although the tendency to choose
lemmas. Moral insight encompasses the discovery of            wrong over right has understandably drawn the
solutions that move beyond choosing one moral                 majority of research attention in the wake of a long
imperative over the other, allowing for solutions that        list of business scandals over the last two decades
honor both imperatives or that resolve the tension            (see Table 1 for details about the literature review
among them. We showed that individuals’ mindsets              conducted), more research on how individuals re-
strongly influence whether they generate moral in-            solve moral dilemmas is needed, particularly given
sight when they contemplate moral dilemmas.                   the perceived difficulty and prevalence of these
   Across four studies, we demonstrated that, al-             dilemmas.
though individuals intuitively approach ethical di-              Our paper builds on existing research on the study
lemmas with a should mindset, shifting individuals            of ethical dilemmas, which, to date, has largely fo-
to consider what they could do helps them find                cused on the factors that influence moral awareness,
moral insight that honors competing moral impera-             or the recognition that individuals’ decisions may
tives in hypothetical (Study 1) and incentive-                conflict with one or more ethical standards
compatible contexts (Studies 2 and 4). Having a               (Butterfield, Treviño, & Weaver, 2000; Rest, 1986;
could mindset expands divergent thinking, generat-            Reynolds, 2008), and on thought experiments that
ing moral insight in both private contexts as well            test how individuals analyze, weigh, and adjudicate
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conflicting imperatives in a dilemma (e.g., Greene                We find that moral insight is particularly important in
et al., 2001; Toffler, 1986). Rather than assume a fixed          preventing the inherent tension between moral values
contest that requires adjudication and a tradeoff, we             from forcing individuals to automatically select one
integrate research from insight (Smith, 1995), decision-          option over the other before even considering further
making (Larrick, 2009), negotiations (Harinck & De                possible options. We highlight how adopting a could
Dreu, 2008), and creativity (McCrae, 1987; Runco,                 mindset helps individuals utilize their creativity
1991; Sternberg & Lubart, 1999) to permit ethical di-             constructively to explore alternative solutions to
lemmas to have (a) multiple solutions and (b) solutions           moral dilemmas.
that fall outside of the set of actions featured in the              Our research findings challenge the default ap-
dilemma itself in order to honor both of the seemingly            proach of people to contemplating right-versus-right
incompatible moral imperatives.                                   dilemmas with an “ought” approach. Following re-
   Just as research on interpersonal conflicts investi-           search investigating the impact of contemplating
gates the factors that foster integrative agreements              situations that tempt individuals to cheat (Gunia
between individuals, we seek to understand the fac-               et al., 2012; Moore & Tenbrunsel, 2014; Shalvi et al.,
tors that help individuals find integrative solutions             2012; Zhong, 2011), our intervention builds on the
when facing intrapersonal moral conflicts. We note                idea that the content of contemplation matters, par-
that, whereas integrating value in interpersonal con-             ticularly in situations in which creative problem-
flicts often entails leveraging differences in priorities         solving is helpful in navigating among competing
and preferences across issues, “integrating value” in             imperatives and tradeoffs. In particular, shifting the
intrapersonal conflicts presents a particularly diffi-            content of the contemplation or conversation does
cult set of challenges, as individuals are unable to take         not require a substantial change: merely shifting the
advantage of interpersonal differences that are so                consideration of what individuals should do—the
critical to value creation. Instead, to find integrative          default approach to moral dilemmas—toward what
solutions in moral domains, individuals need either               they could do helps individuals relax the constraints
to turn a competing imperative into a compatible one              of the dilemma and generate moral insight.
or to consider an alternative solution that does not
involve violating either moral imperative. Given the
                                                                  Practical Implications
unique difficulties of resolving intrapersonal moral
conflicts, the discovery of moral insight—solutions                  Whereas prior research in ethics has focused on
that move beyond conceding one imperative in favor                interventions that mitigate misconduct in organi-
of another and that honor seemingly incompatible                  zations, our research sought to identify simple-
moral imperatives or resolve the tension between                  to-implement psychological solutions that equip
them—deserves more attention.                                     individuals for a different type of ethical challenge—
   Additionally, our findings contribute to research              moral dilemmas. Our findings not only have impli-
on the link between creativity and ethics (Baucus,                cations for how organizations train employees to
Norton, Baucus, & Human, 2008; Gino & Ariely, 2012;               navigate difficult ethical dilemmas (i.e., training
Gino & Wiltermuth, 2014; Kelly & Littman, 2001;                   them to ask “What could I do?” when they encounter
Vincent & Kouchaki, 2016; Wang, 2011). How people                 right-versus-right situations), but they also have im-
most effectively handle different types of ethical                plications for how to train managers and other in-
challenges—conflict between right and wrong, on                   dividuals whose job is to counsel those facing ethical
the one hand, and conflict between two rights (or the             challenges.
lesser of two evils), on the other—is illustrated by the             In recent years, more organizations have created
contrasting effect of creativity. Thus far, research on           positions (e.g., ethics representatives and compli-
ethical decision-making and creativity has focused on             ance officers) and services (e.g., ethics hotlines,
opportunities to do wrong in order to benefit the self,           training, and counseling) aimed to help employees
finding that creative thinking makes it more likely for           address such difficult ethical challenges that arise in
people to cheat (Beaussart, Andrews, & Kaufman,                   their organizations. Our findings from Study 3
2013; Gino & Ariely, 2012; Wang, 2011). In contrast,              demonstrate that beginning the conversation with
we find that, in decision-making contexts that pit                “What could I do?” changes the trajectory of the dis-
a moral principle against at least one other principle            cussion away from focusing on the two most salient
or imperative, approaching the problem with a crea-               options posed in the dilemma. When approached by
tive mindset is conducive to discovering solutions                an employee seeking help on an ethical dilemma,
that honor both of the competing moral imperatives.               managers, ethics representatives, and counselors
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could ask their employees targeted questions that             perhaps individuals might be more likely to engage in
generate divergent thinking, better enabling em-              creative justification of cheating if they were person-
ployees to reach moral insight.                               ally rewarded more favorably for cheating. As the
  Although our findings demonstrate that contem-              temptation for self-gain increases in a dilemma, in-
plating “What could I do?” helps individuals reach            dividuals may be more tempted to utilize their crea-
moral insight, we note that these findings do not             tivity not for moral insight, but for creative justifications
demonstrate that individuals ought to adopt a could           or methods circumventing ethics. So, too, creative
mindset in place of a should mindset. Adjudicating            thinking may differ in its effect if the collision of
among moral imperatives and careful contemplation             “rights” involves two principles (e.g., integrity vs.
of reasoning behind actions helps individuals not             honesty), two consequences (e.g., harm to one party or
only resolve moral dilemmas, but also generates               another), or a consequence and a principle (e.g., honesty
greater moral awareness (Reynolds, 2006, 2008) and            vs. harm). Thus, more research is needed to study how
reduces questionable self-dealing (Caruso & Gino,             creative thinking interacts with the nature of the ethical
2010; Gunia et al., 2012; Shalvi et al., 2012). Rather,       challenge encountered.
our findings demonstrate that, in addition to con-               From a methodological perspective, we conducted
templating “should,” which appears to be the de-              controlled experiments in the lab or using online
fault approach to moral dilemmas, contemplating               panels, limiting the external validity of some of our
“could” beforehand helps individuals consider                 findings. Participants responded to scenarios or faced
moral insight solutions they otherwise would not              ethical dilemmas created to measure intentions and
have considered had they only adopted a should                behaviors systematically and identify the micro-
mindset.                                                      processes that lead to moral insight. Although many
                                                              of these dilemmas were adapted from real-world di-
                                                              lemmas that employees have faced, they were not in
Limitations and Directions for Future Research
                                                              situ challenges that participants were confronting at
   Our research has some limitations, with implica-           work. To increase the generalizability of these find-
tions for future research. Theoretically, more re-            ings, future research is needed to investigate the effi-
search is needed to understand how shifting to                cacy of instilling a could mindset and the emergence
a could mindset has different effects based on the            of moral insight in the field.
types of moral dilemmas presented. In particular,                Additionally, it is possible that the instructions to
future studies could further test when having a more          adopt either a should or a could mindset created
expansive could mindset leads to more unethical               demand effects that either led individuals in could
behavior (i.e., contemplating “What could I get away          mindsets to consider more solutions than they oth-
with?”), and when it leads to moral insight. We hy-           erwise would have on their own, or influenced those
pothesize that one of the main determinants that              in the should mindset to restrict their thinking to
might influence whether creativity is used to justify         answer the question posed more directly. To address
unethical behavior or to arrive at moral insight may          this concern, we asked participants an open-ended
depend on the type of ethical dilemmas individuals            question at the end of each experiment regarding
face.                                                         what they thought the experiment was about. We did
   Although ethical dilemmas are often classified             not find any instances in which participants in the
into either right-versus-right or right-versus-wrong          could mindset condition found consideration of
(Flannery & May, 2000; Hegarty & Sims, 1978), eth-            could as a leading question, or any evidence that
ical dilemmas in reality often span a continuum be-           participants suspected we were investigating the
tween the former, in which the temptation to cheat            impact of adopting a could mindset on the creativity
for purely selfish reasons is absent, and the latter,         of their solutions.
wherein this temptation to benefit oneself is often the          Lastly, additional research is needed to under-
pull to engage in wrongdoing (Lu, Zhang, Galinsky, &          stand how individuals evaluate the ethicality of
Rucker, 2017). For example, the hybrid dilemma                moral insight decisions. For example, moral insights
condition in Study 4 featured a situation in which in         were not perceived as necessarily more ethical than
addition to deciding whether to cheat in order to help        conventional solutions, even if they satisfied both of
their partner, individuals were also tempted to cheat         the imperatives. One possibility is that, although
to benefit themselves. In Study 4, we did not find            moral insights honor each of the competing ethical
evidence that this additional element of self-gain in-        imperatives, removing the focal tension in the moral
creased creative justification of cheating. However,          dilemma also reduces the ethical salience of the
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decision. That is, choosing to violate one moral im-                   and moral identity centrality. Journal of Personality
perative in order to uphold another provides in-                       and Social Psychology, 97(1): 123–141.
formation about how much the decider values the                    Badaracco, J. L., & Useem, J. 1993. The analyst’s dilemma
upheld imperative—how ethical they are in the eyes                    (A). Boston, MA: Harvard Business School Publishing.
of evaluators. For example, prior research has shown               Baer, J. 1994. Divergent thinking is not a general trait:
that lying may be perceived as more ethical than                       A multidomain training experiment. Creativity Re-
being honest to avoid unnecessary harm (Levine &                       search Journal, 7: 35–46.
Schweitzer, 2014, 2015). However, when the focal
                                                                   Barnes, C. M., Schaubroeck, J., Huth, M., & Ghumman, S.
ethical tension is removed, perceivers may find it                     2011. Lack of sleep and unethical conduct. Organi-
difficult to assess the ethicality within the moral in-                zational Behavior and Human Decision Processes,
sight. Or, “net ethicality” may be cognitively com-                    115(2): 169–180.
plex to assess: one principle strongly upheld at the
                                                                   Baron, J., Bazerman, M. H., & Shonk, K. 2006. Enlarging
expense of another may seem as indicative of ethi-                     the societal pie through wise legislation: A psycho-
cality as two principles brought to peaceable recon-                   logical perspective. Perspectives on Psychological
ciliation. Additional research is needed to understand                 Science, 1: 123–132.
how individuals evaluate the ethicality of decisions
                                                                   Baron, R. M., & Kenny, D. A. 1986. The moderator–
and the decision-maker when they remove the ethical
                                                                       mediator variable distinction in social psychological
tension from the problem.                                              research: Conceptual, strategic, and statistical con-
                                                                       siderations. Journal of Personality and Social Psy-
                    CONCLUSION                                         chology, 51(6): 1173–1182.
                                                                   Baucus, M. S., Norton, W. I., Baucus, D. A., & Human, S. E.
   Our research reveals how a significant set of ethical
                                                                      2008. Fostering creativity and innovation without
challenges, often overlooked in efforts to understand                 encouraging unethical behavior. Journal of Business
misconduct, benefit from the application of uncon-                    Ethics, 81: 97–115.
ventional thinking. When encountering ethical di-
                                                                   Bazerman, M. H., Curhan, J. R., Moore, D. A., & Valley, K. L.
lemmas, shifting one’s mindset from “What should I
                                                                       2000. Negotiation. Annual Review of Psychology, 51:
do?” to “What could I do?” generates moral insight:
                                                                       279–314.
the formulation of solutions that move beyond con-
ceding one moral imperative for another to honor mul-              Bazerman, M. H., & Gino, F. 2012. Behavioral ethics: To-
                                                                       ward a deeper understanding of moral judgment and
tiple moral imperatives or relieve the tension among
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   gressions pave the way for larger future transgressions.           Francesca Gino is the Tandon Family Professor of business
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                                                                        The goal of this study was to examine the types of ethical
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                                                                      Participants
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    Carney, D. R. 2013. The ergonomics of dishonesty: The                 One hundred sixty-three corporate executives (Mage 5
    effect of incidental posture on stealing, cheating, and           40.4 years, SDage 5 6.15; Mtenure at firm 5 8.9 years, SDtenure
    traffic violations. Psychological Science, 24(11):                at firm 5 5.73; 28% female) completed a survey about the
    2281–2289.                                                        ethical challenges that they face in their organizations.
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Design and Procedure                                                 33% perceived right vs. wrong dilemmas as the least
                                                                     prevalent, x2(2) 5 8.51, p 5 .01.
   Executives were asked to “think about the ethical issues             Additionally, executives perceived that 30% of di-
in [their] organization that are most typical, especially for        lemmas recalled were right vs. wrong dilemmas, 36% were
those [they] lead.” They then read about three different             performance related dilemmas, and 34% were right vs.
types of ethical dilemmas:
                                                                     right dilemmas.
  Right vs. wrong dilemmas: Temptations to violate prin-                Taken together, these results demonstrate that execu-
  ciples in order to benefit personally. Examples include            tives perceive right vs. right dilemmas as the most difficult
  whether to inflate expenses on reimbursement forms;                ethical dilemma. In contrast, executives perceived right vs.
  whether to use company property (e.g., tools, supplies)            wrong situations as the least difficult to solve and less
  for your own personal purposes unrelated to your job;              prevalent than other types of dilemmas.
  whether to say critical things about a peer, or withhold
  information from that peer, so you are seen in a more
  favorable light by a boss.                                                               APPENDIX B
  Right vs. right dilemmas: When ethical principles or
  valued objectives are in conflict with one another. Exam-                     PILOT B: DEFAULT APPROACH TO
  ples include whether to withhold confidential information                           ETHICAL DILEMMAS
  from coworkers (for example, about an impending layoff)
                                                                        The goal of this study was to examine how individuals
  that would be critical and beneficial for them to know,
                                                                     intuitively approach moral dilemmas compared to amoral
  whether to be truthful to a coworker at the risk of hurting
                                                                     dilemmas.
  them, or whether to harm one person or group in order to
  protect another individual or group (for example, taking
  company resources to help a client or customer in need).           Participants
  Performance dilemmas: When ethical principles con-                    We recruited sixty participants (Mage 5 32.38, SD 5
  flict with performance expectations. Examples include              13.39; 38% female) on Amazon’s Mechanical Turk for
  stretching the truth to hit targets; not being entirely            a study that asked them to provide their thought process on
  honest in order to get a customer to make a purchase;              hypothetical scenarios and paid them $0.50 in Amazon.
  inflating prices to enhance margins.
                                                                     com credit for completing the five-minute study. Past re-
   Difficulty ranking. After reading about these dilemmas,           search has shown that the Mechanical Turk service pro-
executives ranked these dilemmas in order from most diffi-           vides reliable data for research purposes (Buhrmester,
cult (rank as 1) to least difficult to handle (rank as 3).           Kwang, & Gosling, 2011).
   Representation. Executives ranked the prevalence of
each dilemma and indicated the percentage of all ethical
                                                                     Design and Procedure
issues—faced by your coworkers, direct reports, and those
they lead—that each of these dilemmas captured.                        Participants were randomly assigned to read either
                                                                     two moral dilemmas (e.g., the Heinz dilemma) or two
                                                                     amoral dilemmas (see p. 4). They were then instructed to
Results and Discussion                                               complete the following question with a word or phrase
   Difficulty ranking. Forty-five percent of executives              that best captured what they were thinking as they con-
perceived right vs. right dilemmas as the most difficult,            sidered their response to each dilemma: “What _____ I
whereas 29% perceived performance conflicts and 26%                  do?” Two independent raters blind to the purpose of the
perceived right vs. wrong dilemmas as the most difficult,            study then coded each response based on whether they
x2(2) 5 9.17, p 5 .01.                                               contained the word “should,” “could/can,” or “will/
   Forty-four percent of executives perceived right vs.              would.” Because we achieved good interrater reliability
wrong dilemmas as the least difficult to resolve, whereas            on the percentage of responses across the dilemmas that
31% perceived performance conflicts and 24% perceived                contained the word “should” (ICC2 5 .99, p , .001) or
right vs. right dilemmas as the least difficult to resolve,          “could” (ICC2 5 .99, p , .001), we averaged the ratings
x2(2) 5 9.59, p 5 .008.                                              between the two coders.
   Representation. Thirty-five percent of executives                   Based on the tendency for organizations to guide man-
perceived right vs. right dilemmas as the most prevalent             agers to consider what they “should” do when contem-
and 39% perceived performance conflicts as the most                  plating ethical challenges, we hypothesized that
prevalent, whereas 26% perceived right vs. wrong di-                 participants would be more likely to complete the question
lemmas as the most prevalent, x2(2) 5 4.95, p 5 .08.                 with the word “should” than the word “could” when
   Forty-three percent of executives perceived right vs.             approaching moral dilemmas. We also expected the use of
wrong dilemmas as the least prevalent, whereas 24% per-              “should” to be more frequent in moral rather than in
ceived performance conflicts as the least prevalent and              amoral dilemmas.
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Results and Discussion                                             and considered breaking into the man’s store to steal the
                                                                   drug for your spouse.
   Participants considered “should” a greater percentage
of the time in a moral context (M 5 61.54%, SD 5 .36) than in
an amoral context (M 5 36.03%, SD 5 .35), t(58) 5 2.76, p 5        Moral Dilemma 2
.008, d 5 .72. In contrast, participants who read moral di-
lemmas considered “could” (M 5 8.65%, SD 5 .23) a smaller             Adapted from “Merck Sharp & Dohme Argentina, Inc.”
percentage of the time compared to those who read amoral           (Paine, 1997).
dilemmas (M 5 27.94%, SD 5 .28), t(58) 5 2.83, p 5 .006, d 5          You are the manager of a multinational pharmaceutical
.74. These percentages also show that people generally ap-         company’s unit in Argentina, and you are facing a diffi-
proach moral dilemmas using a “should” mindset rather than         cult situation. You took over the company’s unit in
a “could” mindset, using the former over 61% of the time and       Argentina with the expectation that you would modern-
the latter less than 9% of the time. The remaining 30% of          ize its practices, infuse the company with a high standard
individuals contemplated what “would” or “will” I do.              of integrity and fairness, make the culture more pro-
                                                                   fessional, and improve performance dramatically. How-
                        Table B1                                   ever, the company is still not on target to meet its sales
  Descriptive statistics by condition for the variables            goal for the year.
measured in Pilot B. Standard deviations are reported in              To make these goals, you have established a new in-
parentheses.                                                       ternship program to recruit top caliber talent for possible
                                                                   careers with the company. From a pool of top-notch college
                            “Should”               “Could”
                                                                   students, the company would select 15 for a paid summer
                                                                   internship program.
Moral Dilemma             61.54% (.36)            8.65% (.23)
Amoral Dilemma            36.03% (.35)           27.94% (.28)         You enlisted an outside consulting firm to handle the
                                                                   actual recruiting. The consulting company sifted through
                                                                   over 1,200 applicants and after an intense battery of tests
                                                                   only 30 were then selected to participate in a two-week
  These results indicate that people intuitively consider
                                                                   program overseen by the company’s senior managers, who
“What should I do?” more frequently when confronting
                                                                   would test the 30 candidates’ skills in a variety of exercises.
moral dilemmas compared to amoral dilemmas, and that
                                                                   The final 15 would be selected at the end of those two
adopting a should mindset is more prevalent when con-
                                                                   weeks.
templating moral dilemmas.
                                                                      Just two days before you were set to announce the 15
                                                                   college students chosen for the highly-selective summer
                      APPENDIX B                                   intern program, you received a phone call from a middle
                                                                   manager who informed you that one of the candidates was
                                                                   the son of a high-ranking official in the government’s
MORAL AND AMORAL DILEMMAS IN PILOT B                               national health care program for government retirees, the
   As you consider your response to each situation, please         single largest health care organization in the country. The
fill in the blank with the word that best captures how you         student’s presence in the company workforce, the man-
are thinking about the problem.                                    ager stated, would give the company an excellent oppor-
   What _________ I do?                                            tunity to increase sales well beyond the goal that you had
                                                                   set by ensuring that all its drugs were included in the
                                                                   government health care formulary. Any company would
Moral Dilemma 1                                                    envy you for this unexpected advantage. Of the 30 can-
                                                                   didates, however, this particular individual was ranked
   Adapted from the “Heinz dilemma” (Kohlberg, 1971).
                                                                   number 16 on the list, just below the cut. The rankings
   Imagine that your spouse is near death from a rare kind
                                                                   were based upon the battery of tests and senior managers’
of cancer. There was one drug that the doctors thought
                                                                   evaluations.
might save your spouse’s life. It was a form of radium that
                                                                      When Friday morning arrived, you were unsure how to
a scientist in the same town had recently discovered. The
                                                                   proceed, but you had to inform the winning interns today.
drug was expensive to make, but the scientist, who sold the
drug through a drug store he owned, was charging ten times
what the drug cost him to make. He paid $200 for the ra-
                                                                   Amoral Dilemma 1
dium and charged $2,000 for a small dose of the drug.
   You went to everyone you knew to borrow the money,                 You have been working hard on an essay assignment for
but you could only get together about $1,000, which is half        the last week. The prompt was about how the country
of what the drug cost. You told the scientist that your            setting of novels play a role in these pieces of literature.
spouse was dying and asked him to sell it cheaper or let him       You meticulously went through the readings centered
pay later. But the scientist said: "No, I discovered the drug      around how different types of government policies are
and I’m going to make money from it." So you got desperate         featured in these stories.
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   Two days before the deadline, you realized that you               Design and Procedure
mis-interpreted the essay prompt. The question was fo-
cused on how the pastoral and farm settings (not the                    Participants contemplated four ethical dilemmas and
setting of nations) in novels play a role in works of                were randomly assigned to answer the question “What
literature.                                                          ‘could,’ ‘should,’ or ‘would’ you do?” for each of them (see
                                                                     Dilemmas 1-4 in Appendix D). Participants then answered
                                                                     a series of questions that measured the extent to which they
Amoral Dilemma 2                                                     believed the two primary goals of each dilemma were
                                                                     compatible with one another.
   You are currently in the Boston airport and have a job
interview scheduled in New York in 5 hours. The flight is
only 1 hour in duration and your interview is a thirty-              Measure
minute commute away once you land in New York. You
booked this flight since it would give you plenty of time to            Compatibility of moral imperatives. After pro-
get to the meeting.                                                  viding responses to each of the dilemmas, participants
   Just as you thought you were about to board the plane,            rated the extent to which they believed it was possible to
the flight attendant announced that your flight is can-              honor both moral imperatives presented (15 “It is defi-
celled due to the plane’s engine problems. The next                  nitely possible to do both at the same time;” 2 5 “It is
available flight in which you are guaranteed a seat is not           possible to do both at the same time;” 35 “It is not possible
for another 4 hours, which would make you late for your              to do both at the same time;” 45 “It is definitely not pos-
interview.                                                           sible to do both at the same time”). For example, partici-
                                                                     pants who read the Heinz dilemma were asked to what
                                                                     extent it was possible to simultaneously “save your spou-
                      APPENDIX C                                     se’s life” and “not breaking the law (not stealing the drug).”
                                                                     We reverse coded these items to measure the perceived
                                                                     compatibility of these moral imperatives.
       PILOT STUDY C: POTENTIAL TO REACH
                MORAL INSIGHT
   In this pilot study, we examine the effect of three               Results
mindsets—should, would, and could—on the extent to
                                                                        To test the impact of the participants’ mindset on the
which individuals perceived the potential to reach
                                                                     extent to which they believed they could honor the moral
moral insight across four moral dilemmas. We oper-
                                                                     imperatives in each of these dilemmas, we conducted
ationalize participants’ potential of reaching moral in-
                                                                     a repeated-measures analysis of variance (ANOVA) with
sight based on research in interpersonal conflict (De
                                                                     the mindset (should vs. would vs. could) as the between-
Dreu, 2003). Disputants who recognized that their in-
                                                                     subjects factor and ratings across the four dilemmas as the
terests were not necessarily in direct opposition to their
                                                                     within-subjects factor (repeated measures on dilemma).
counterparts’—and in fact, could have been compati-
                                                                     The results revealed a significant main effect of the par-
ble—were more likely to discover integrative solutions
                                                                     ticipants’ mindset on the perceived compatibility of these
that maximized outcomes for both negotiating parties
                                                                     moral imperatives, F(2, 277) 5 6.55, p 5 .002, hp2 5 .05.
(Brandenburger & Nalebuff, 1996; Harinck & De Dreu,
                                                                     Post-hoc pairwise comparisons suggest that partici-
2008). Thus, we operationalize the potential to reach
                                                                     pants perceived greater compatibility after contemplating
moral insight (i.e., honoring seemingly incompatible
                                                                     “What could I do?” (M 5 2.51, SD 5 .53) compared to
moral imperatives) based on the extent that participants
                                                                     “What should I do?” (M 5 2.30, SD 5 .53, p 5 .007) and
perceived seemingly incompatible moral imperatives as
                                                                     “What would I do?” (M 5 2.23, SD 5 .52, p 5 .001). There
compatible.
                                                                     was no difference in ratings of compatibility between
   Additionally, we included a would mindset to test if
                                                                     those who contemplated “What should I do?” and “What
adopting any mindset other than a should mindset changes
                                                                     would I do?” (p 5 .38).
the way people perceive dilemmas. We expected that
                                                                        We also found a main effect of dilemmas, F(3, 831) 5
relative to having a should or would mindset, having
                                                                     23.37, p , .001, hp2 5 .08, suggesting that participants
a could mindset would help individuals recognize greater
                                                                     perceived greater compatibility of imperatives in some
compatibility between seemingly incompatible moral
                                                                     dilemmas than in others. Post-hoc analyses revealed
imperatives.
                                                                     that participants perceived greater compatibility of moral
                                                                     imperatives in the first dilemma (M1 51.42, SD1 5 1.00,
                                                                     p , .08) and less compatibility in the fourth dilemma
Participants
                                                                     (M4 52.00, SD4 5 .85, p , .001) than in the other dilemmas
  Two hundred eighty individuals (Mage5 35.07 years;                 (M2 51.65, SD2 5 .99, M3 51.55, SD4 5 .87). The interaction
64% female) recruited through Amazon’s Mechanical                    between participants’ mindsets and type of dilemma did
Turk participated in an online study in exchange for $0.75.          not reach statistical significance, F(6, 831) 5 1.74, p 5 .11.
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Discussion                                                         students, the company would select 15 for a paid summer
                                                                   internship program.
   Results from this pilot study are consistent with our              You enlisted an outside consulting firm to handle the
first hypothesis that adopting a could mindset helps in-           actual recruiting. The consulting company sifted through
dividuals perceive greater compatibility between moral             over 1,200 applicants and after an intense battery of tests
imperatives relative to adopting a should mindset. The
                                                                   only 30 were then selected to participate in a two-week
lack of evidence that should and would mindsets differ in
                                                                   program overseen by the company’s senior managers, who
their impact suggests that the impact of a could mindset is
                                                                   would test the 30 candidates’ skills in a variety of exercises.
not driven by the possibility that should mindsets lead
                                                                   The final 15 would be selected at the end of those two
individuals to perceive less potential in reaching moral
                                                                   weeks.
insight. Because we did not observe a difference between
                                                                      Just two days before you were set to announce the 15
should and would conditions, we did not include a would
                                                                   college students chosen for the highly-selective summer
condition in Studies 1-4.
                                                                   intern program, you received a phone call from a middle
                                                                   manager who informed you that one of the candidates was
                      APPENDIX D                                   the son of a high-ranking official in the government’s
                                                                   national health care program for government retirees, the
                                                                   single largest health care organization in the country. The
Moral Dilemma 1                                                    student’s presence in the company workforce, the man-
   Adapted from the “Heinz dilemma” (Kohlberg, 1971).              ager stated, would give the company an excellent oppor-
   Imagine that your spouse is near death from a rare kind         tunity to increase sales well beyond the goal that you had
of cancer. There was one drug that the doctors thought             set by ensuring that all its drugs were included in the
might save your spouse’s life. It was a form of radium that        government health care formulary. Any company would
a scientist in the same town had recently discovered. The          envy you for this unexpected advantage. Of the 30 can-
drug was expensive to make, but the scientist, who sold            didates, however, this particular individual was ranked
the drug through a drug store he owned, was charging ten           number 16 on the list, just below the cut. The rankings
times what the drug cost him to make. He paid $200 for             were based upon the battery of tests and senior managers’
the radium and charged $2,000 for a small dose of the              evaluations.
drug.                                                                 When Friday morning arrived, you were unsure how to
   You went to everyone you knew to borrow the money,              proceed, but you had to inform the winning interns today.
but you could only get together about $1,000, which is half           What could/should you do?
of what the drug cost. You told the scientist that your               To what extent do you think 1) giving your company
spouse was dying and asked him to sell it cheaper or let him       a financial advantage by hiring candidate 16 and 2)
pay later. But the scientist said: "No, I discovered the drug      being fair to the other candidates are compatible/
and I’m going to make money from it." So you got desperate         incompatible?
and considered breaking into the man’s store to steal the
drug for your spouse.
   What could/should you do?                                       Moral Dilemma 3
   To what extent do you think 1) saving your spouse’s life           Adapted from an experience of a former MBA student.
and 2) not breaking the law (not stealing the drug) are               Imagine that you work in the financial office of Climatex,
compatible/incompatible?                                           a large company that manufactures heating ventilation and
                                                                   air conditioning (HVAC) equipment. The CEO has been
                                                                   examining potential acquisitions in “new energy,” such as
Moral Dilemma 2                                                    wind, solar, and geothermal. The board of directors has
   Adapted from “Merck Sharp & Dohme Argentina, Inc.”              informed the CEO that any acquisition must promise at
(Paine, 1997).                                                     least a 6% return and, preferably, a return between 7% and
   You are the manager of a multinational pharmaceutical           9%. In order to be approved, every potential acquisi-
company’s unit in Argentina, and you are facing a diffi-           tion needs to be presented with financial analysis that is
cult situation. You took over the company’s unit in                reviewed by the board.
Argentina with the expectation that you would modern-                 A friend of the CEO owns a solar-panel company, in
ize its practices, infuse the company with a high standard         which the CEO invested. The CEO asked you to conduct
of integrity and fairness, make the culture more pro-              a financial analysis of the friend’s company since the CEO
fessional, and improve performance dramatically. How-              wanted to propose that Climatex acquire the friend’s
ever, the company is still not on target to meet its sales         company. The CEO asked that you prepare a report for the
goal for the year.                                                 board. In the CEO’s meeting with you, the CEO concluded,
   To make these goals, you have established a new in-             “This is a great opportunity for our company. Let’s find
ternship program to recruit top caliber talent for possible        a way to recommend this as positively as possible to the
careers with the company. From a pool of top-notch college         board.”
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   You were excited by the project—a high profile assign-             keep your conversation confidential, and you agreed,
ment and a chance to present to the board of directors. You           thinking this was a personal issue. It turned out that Uni-
conducted financial analyses in the two most common and               versal was dissolving its capital finance group, meaning
accepted methods for doing so, and one method revealed                that not only was Sandy out of a job, but now the deal with
a return of 4.5% and the other revealed a return of 5.35%.            B&B was in serious jeopardy. If you do not tell your boss at
Even with optimistic assumptions, the return fell un-                 B&B about this news right away, then the public might hear
derneath the 6% return standard set by the board. Before              of the news first, scaring away potential investors and
meeting with the CEO, you reviewed your work with                     putting both B&B and the client at risk. At the same time,
a colleague you respected, and they came to the same                  you made a promise that Sandy would not tell anyone
results.                                                              about the situation since this information is confidential.
   When you met with the CEO to share your analyses, the                 What could/should you do?
CEO asked you if the returns would look better if you                    To what extent do you think 1) maintaining the confi-
changed some of the underlying assumptions in the ana-                dentiality agreement with your roommate and 2) informing
lyses. The CEO finished the conversation by saying, “We               your boss about the news are compatible/incompatible?
just need a glowing recommendation to get the approval
we need from the board on this one. This is your moment to
shine and show your potential. Let’s see you deliver what                                   APPENDIX E
we need.”
   You felt conflicted. You would need to write a report              Mindset Video
containing three components: a description of the solar-
panel company and its prospects, a quantitative analysis of              Could video: https://youtu.be/PasvFkslUXA
estimated financial return, and a concluding recommen-                   Should video: https://youtu.be/jsonaH8aFoA
dation to be presented in front of the board of directors. You           Hi there! In this video we will discuss the best ways to
did not want to damage your career going against the CEO,             approach moral challenges that you might face in the
but at the same time, you wanted to maintain your integrity           workplace and in your personal life.
and make a recommendation that would not squander the                    When facing these difficult situations, it’s easy to get
company’s resources.                                                  stuck on what to do. Although these problems are difficult,
   What could/should you do?                                          asking yourself “What could [should] I do?” can help you
   To what extent do you think 1) maintaining your in-                solve these problems.
tegrity and 2) not damaging your career are compatible/                  For example, you might feel obligated to lie in order to
incompatible?                                                         protect a co-worker.
                                                                           Employee asks a co-worker: If our manager asks, can
Moral Dilemma 4                                                       you just tell her I showed up on time today. If the manager
                                                                      finds out that I was late today, I will be fired.
    Adapted from the “Analyst’s Dilemma” (Badaracco &
Useem, 1993).                                                            When you find yourself in these situations, consider
    Imagine that you are a rising star at a medium-sized in-          “What could [should] you do?”
vestment bank (B&B), and you are currently facing a de-                  In another case, your boss might ask you to fudge in-
cision to choose between loyalty to your roommate or to               formation in order to help your company.
your company and boss. To understand this predicament,                    Manager tells employee: Can you adjust these profit
it is important to understand that there exists a cult men-           margins so that we look better for our clients tomorrow?
tality at B&B in that those who stay at the company accept
that loyalty to the organization goes before one’s health,               What could [should] you do?
family, and friends.                                                     When faced with these situations in which different
    The situation started when you were working on                    moral objectives are in conflict, consider asking yourself
a project that involved orchestrating a leveraged buyout              “What could [should] I do?”
for Suntech, one of B&B’s clients. In addition to providing              In those situations, asking yourself “What could I do?”
short-term financing, B&B put together the syndicate of               can lead you to find helpful solutions. Having a “could”
banks financing the deal and purchased the majority of                mindset can help you think beyond the most obvious op-
Suntech’s assets, to be held for a long-term basis. Uni-              tions. This “could” mindset helps you find better solutions
versal was another bank on the team that was involved                 beyond what you were initially considering. Let’s put this
with the structuring of the deal, underwriting the loan for           “could” mindset into practice.
the senior debt. It turns out that your roommate, Sandy                  [In those situations, asking yourself “What should I do?”
was one of the people on Universal’s team working on the              can lead you to find helpful solutions. Having a “should”
project.                                                              mindset can help you decide which solution is the best
    One day after work, you came home to find your room-              approach. This “should” mindset helps you pick between
mate Sandy in tears. Sandy basically pleaded for you to               the choices in front of you.]
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  APPENDIX F: ADDITIONAL MEASURES AND                                  Judges’ ratings. Judges rated the extent to which the
        RESULTS ACROSS STUDIES                                      solutions honored each objective (1 5 not at all to 7 5
                                                                    extremely). Judges also rated could mindset solutions
                                                                    (M53.35, SD 5 1.15) as more creative than should mindset
Study 1                                                             solutions (M53.07, SD 5 1.15), t(307) 5 2.21, p 5 .03,
                                                                    d 5.25.
   Mediation. We examined whether divergent thinking—
as rated based on self-reports of the number of ideas                  Moral attentiveness. Employees in the could mind-
generated—mediated the effect of a “could” mindset on               set condition (M 5 4.40, SD 5 1.15) did not score higher on
participants’ ability to generate moral insight solutions           the moral attentiveness scale than did those in the should
                                                                    mindset condition (M 5 4.49, SD 5 1.16), t(307) 5 .71, p 5
(Baron & Kenny, 1986). A “could” mindset was positively
                                                                    .48, d 5.08. Because moral attentiveness did not differ by
associated with self-reports of divergent thinking (b 5 .24,
                                                                    condition, we also tested it as a moderator of having a could
t 5 3.62, p 5 .004). When controlling for divergent
                                                                    mindset. An OLS regression with averaged standardized
thinking, the effect of adopting a “could” mindset was
                                                                    scores of moral insight as the dependent variable and being
reduced to non-significance (from b 5 .20, t 5 2.86, p 5
                                                                    in a could mindset, moral attentiveness, and the in-
.005 to b 5 .11, t 5 1.61, p 5 .11), and divergent thinking
                                                                    teraction of mindset and attentiveness as the independent
predicted participants’ ability to generate moral insight
                                                                    variables revealed only a main effect of mindset, b 5 .20,
solutions (b 5 .38, t 5 5.52, p , .001). A bootstrap analysis
                                                                    t 5 3.52, p , .001. We did not find any other significant
indicated that the 95% bias-corrected confidence interval
                                                                    effects, ts , .72, ps . .47.
for the size of the indirect effect excluded zero (.05, .15),
                                                                       Mediation analyses. We examined whether di-
suggesting a significant indirect effect (MacKinnon,
                                                                    vergent thinking mediates the effect of adopting a could
Fairchild, & Fritz, 2007).
                                                                    mindset on the propensity to find moral insight solutions
   We examined whether divergent thinking—as rated
                                                                    based on whether employees provided solutions beyond
via our external raters—mediated the effect of a “could”
                                                                    simply accepting or declining the offer (Baron & Kenny,
mindset on participants’ ability to generate moral in-
                                                                    1986). Adopting a could mindset was positively associated
sight solutions (Baron & Kenny, 1986). A “could”
                                                                    with divergent thinking (b 5 .41, t 5 2.48, p 5 .01). When
mindset was positively associated with independent
                                                                    controlling for divergent thinking, the effect of adopting
coders’ ratings of divergent thinking (b 5 .32, t 5 4.88, p         a could mindset was significantly reduced (from b 5 .33,
, .001). When controlling for divergent thinking, the               t 5 3.36, p , .001 to b 5 .27, t 5 2.79, p 5 .006), and
effect of adopting a “could” mindset was reduced to                 divergent thinking predicted the likelihood of proposing
non-significance (from b 5 .20, t 5 2.86, p 5 .005 to b 5           a moral insight solution (b 5 .15, t 5 4.56, p , .001). A
-.03, t 5 -.66, p 5 .51), and divergent thinking predicted          bootstrap analysis indicated that the 95% bias-corrected
participants’ ability to generate moral insight solutions           confidence interval for the size of the indirect effect ex-
(b 5 .72, t 5 13.55, p , .001). A bootstrap analysis in-            cluded zero (.009, .07), suggesting a significant indirect
dicated that the 95% bias-corrected confidence interval             effect (MacKinnon et al., 2007).
for the size of the indirect effect excluded zero (.13, .33),          We conducted a similar analysis with the dependent
suggesting a significant indirect effect (MacKinnon,                variable as whether judges categorized the solution as
Fairchild, & Fritz, 2007).                                          honoring both ethical imperatives. When controlling for
                                                                    divergent thinking, the effect of adopting a could mindset
                                                                    was significantly reduced (from b 5 .28, t 5 2.46, p 5 .01 to
Study 2
                                                                    b 5 .23, t 5 2.03, p 5 .04), and divergent thinking predicted
  Additional measures                                               the likelihood of proposing a solution honoring both ob-
   Moral attentiveness. At the end of the study, partic-            jectives (b 5 .12, t 5 3.15, p 5 .002). A bootstrap analysis
ipants answered a 12-item scale moral attentiveness scale           indicated that the 95% bias-corrected confidence interval
(Reynolds, 2008).                                                   for the size of the indirect effect excluded zero (.006, .05),
   Participants’ assessments. Employees assessed the                suggesting a significant indirect effect (MacKinnon et al.,
extent to which their proposed solution met the primary             2007).
objectives in conflict and their perceived creativity of their
proposed solutions.
                                                                    Study 3
   Creativity. Employees in the could mindset condition
(M 5 4.26, SD 5 1.83) rated their own solutions as more               Perceived creativity of solution. Participants in
creative than those in should mindset condition did (M 5            the could mindset rated their own solutions as more
3.71, SD 5 1.76), t(309) 5 2.72, p 5 .007, d 5.31.                  creative (M 5 3.61, SD 5 1.78) than those in the should
   Ethicality. Employees in the should mindset condition            mindset (M 5 2.84, SD 5 1.74), t(199) 5 3.10, p 5 .002,
(M 5 5.94, SD 5 1.50) did not rate their own solutions              d 5 .44.
as more ethical than those in could mindset condition                 Perceived incompatibility of objectives. After
(M 5 5.94, SD 5 1.51), t(309) 5 .01, p 5 .99, d 5.001.              providing their solution, participants rated the extent to
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which “maintaining the confidentiality agreement with                .55, p , .001), we averaged the two coder’s ratings to obtain
your roommate” and “informing your boss about the news”              a single measure of thoughtfulness.
were incompatible (15 “It is definitely possible to do both             Could solutions were rated as more thoughtful (M 5
at the same time;” 2 5 “It is possible to do both at the same        3.90, SD 5 1.32) than should solutions (M 5 3.33, SD 5
time;” 35 “It is not possible to do both at the same time;”          1.51), t(197) 5 2.86, p 5 .005, d 5 .41.
45 “It is definitely not possible to do both at the same
time”).
                                                                     Study 4
   Participants in the “could” mindset rated the objectives
in this dilemma as less incompatible (M 5 1.44, SD 5 .86)               Time spent on task. An ordinary least squares (OLS)
than those in the should mindset (M 5 1.76, SD 5 .88),               regression time spent on the brainstorming as the de-
t(199) 5 2.57, p 5 .01, d 5 .36.                                     pendent variable and mindset intervention, type of di-
   Thoughtfulness of solutions. Two independent                      lemma, and the interaction of the conditions as the
coders blind to the hypotheses also rated the thoughtful-            independent variable did not reveal any significant effects
ness of each solution (1 5 “Not at all” to 7 5 “Extremely”).         of dilemma type, mindset, or the interaction of the two, ts ,
Since the two raters achieved moderate reliability (ICC2 5           1.42, ps . .16.
